                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 1 of 48 Page ID #:1




                                                                           1    CLARKSON LAW FIRM, P.C.
                                                                                Ryan J. Clarkson (SBN 257074)
                                                                           2    rclarkson@clarksonlawfirm.com
                                                                                Bahar Sodaify (SBN 289730)
                                                                           3    bsodaify@clarksonlawfirm.com
                                                                                Alan Gudino (SBN 326738)
                                                                           4    agudino@clarksonlawfirm.com
                                                                                Ryan D. Ardi (SBN 348738)
                                                                           5    rardi@clarksonlawfirm.com
                                                                                22525 Pacific Coast Highway
                                                                           6    Malibu, CA 90265
                                                                                Tel: (213) 788-4050
                                                                           7    Fax: (213) 788-4070
                                                                           8
                                                                                Attorneys for Plaintiff
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                           9

                                                                           10                         UNITED STATES DISTRICT COURT
                                                                           11
                                                                                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                           12
                                                                                ELIZABETH KERMANI, individually         Case No.:
                                                                           13   and on behalf of all others similarly
                                                                                situated,                               CLASS ACTION COMPLAINT
                                                                           14
                                                                                                   Plaintiff,             1. VIOLATION OF UNFAIR
                                                                           15                                                COMPETITION LAW (CAL.
                                                                                     vs.                                     BUS. & PROF. CODE §§
                                                                           16                                                17200, et seq.)
                                                                                GODIVA CHOCOLATIER, INC.,                 2. VIOLATION OF FALSE
                                                                           17                                                ADVERTISING LAW (CAL.
                                                                                                   Defendant.                BUS. & PROF. CODE §§
                                                                           18                                                17500, et seq.)
                                                                                                                          3. VIOLATION OF
                                                                           19                                                CONSUMERS LEGAL
                                                                                                                             REMEDIES ACT (CAL. CIV.
                                                                           20                                                CODE §§ 1750, et seq.)
                                                                                                                          4. BREACH OF IMPLIED
                                                                           21                                                WARRANTY
                                                                                                                          5. UNJUST ENRICHMENT
                                                                           22                                             6. NEGLIGENT FAILURE TO
                                                                                                                             WARN
                                                                           23
                                                                                                                        JURY TRIAL DEMANDED
                                                                           24

                                                                           25

                                                                           26

                                                                           27

                                                                           28

                                                                                                           CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 2 of 48 Page ID #:2




                                                                           1                                              TABLE OF CONTENTS
                                                                           2                                                                                                                  Page No.
                                                                           3    INTRODUCTION .................................................................................................... 1
                                                                           4    JURISDICTION ....................................................................................................... 5
                                                                           5    VENUE .................................................................................................................... 5
                                                                           6    PARTIES ................................................................................................................. 5
                                                                           7    FACTUAL ALLEGATIONS ................................................................................... 8
                                                                           8           A.        Background............................................................................................ 8
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                           9           B.        Plaintiff and Reasonable Consumers Were Misled by the Material
                                                                           10                    Omission.............................................................................................. 19
                                                                           11          C.        No Adequate Remedy at Law .............................................................. 21
                                                                           12   CLASS ACTION ALLEGATIONS ....................................................................... 25
                                                                           13   CAUSES OF ACTION........................................................................................... 30
                                                                           14   COUNT ONE ......................................................................................................... 30
                                                                           15          “Unfair” Prong............................................................................................... 32
                                                                           16           “Fraudulent” Prong ........................................................................................ 34
                                                                           17           “Unlawful” Prong .......................................................................................... 35
                                                                           18   COUNT TWO ........................................................................................................ 37
                                                                           19   COUNT THREE .................................................................................................... 38
                                                                           20   COUNT FOUR ...................................................................................................... 40
                                                                           21   COUNT FIVE ........................................................................................................ 42
                                                                           22   COUNT SIX .......................................................................................................... 43
                                                                           23   PRAYER FOR RELIEF ......................................................................................... 44
                                                                           24   DEMAND FOR JURY TRIAL .............................................................................. 46
                                                                           25

                                                                           26

                                                                           27

                                                                           28
                                                                                                                                             i
                                                                                                                     CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 3 of 48 Page ID #:3




                                                                           1          Plaintiff Elizabeth Kermani (“Plaintiff”), individually and on behalf of all
                                                                           2    others similarly situated, by and through her attorneys, brings this class action
                                                                           3    complaint against Defendant Godiva Chocolatier, Inc. (“Defendant” or “Godiva”).
                                                                           4    Plaintiff’s allegations are based upon personal knowledge as to herself and her own
                                                                           5    acts, and upon information and belief as to all other matters based on investigation
                                                                           6    conducted by and through Plaintiff’s attorneys. Plaintiff believes that substantial
                                                                           7    additional evidentiary support exists for the allegations set forth herein, after a
                                                                           8    reasonable opportunity for discovery.
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                           9                                    INTRODUCTION
                                                                           10         1.   Synopsis. Compared to other types of chocolate, dark chocolate is
                                                                           11   considered a healthier chocolate rich in antioxidants and other beneficial compounds.
                                                                           12   This perception is shared by more than half of consumers, according to a recent study
                                                                           13   conducted by the National Confectioners Association. 1 However, recent research has
                                                                           14   uncovered a disturbing fact—certain dark chocolate products, including Defendant’s
                                                                           15   Godiva Signature Dark Chocolate 72% Cacao, contain dangerous levels of heavy
                                                                           16   metals that pose serious health risks to consumers. The research found that just one
                                                                           17   ounce of Defendant’s dark chocolate product contains a staggering 146% of
                                                                           18   California’s daily maximum allowable dose level (MADL) for lead and 25% of the
                                                                           19   MADL for cadmium.2 Lead and cadmium are toxic heavy metals that are unsafe for
                                                                           20   consumption because they can cause various health issues in adults and children. Yet,
                                                                           21   to increase its profits and gain an unfair advantage over its competitors, Defendant
                                                                           22   sells the Product without disclosing the heavy metal content contained therein,
                                                                           23   deliberately misleading Plaintiff and other reasonable consumers to believe the
                                                                           24   Product is safe for consumption when it is not. A fair and accurate depiction of the
                                                                           25

                                                                           26   1
                                                                                  “Lead and Cadmium Could Be in Your Dark Chocolate” (Dec. 15, 2022),
                                                                           27   Consumer Reports, https://www.consumerreports.org/health/food-safety/lead-and-
                                                                                cadmium-in-dark-chocolate-a8480295550/.
                                                                           28   2
                                                                                  Id.
                                                                                                                          1
                                                                                                         CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 4 of 48 Page ID #:4




                                                                           1    label and packaging for Defendant’s Godiva Signature Dark Chocolate 72% Cacao is
                                                                           2    depicted below as “Exhibit 1.”
                                                                           3
                                                                                             Exhibit 1. Godiva Signature Dark Chocolate 72% Cacao
                                                                           4

                                                                           5

                                                                           6

                                                                           7

                                                                           8
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                           9

                                                                           10

                                                                           11

                                                                           12

                                                                           13

                                                                           14

                                                                           15

                                                                           16
                                                                           17

                                                                           18

                                                                           19

                                                                           20

                                                                           21

                                                                           22

                                                                           23

                                                                           24

                                                                           25

                                                                           26

                                                                           27

                                                                           28
                                                                                                                       2
                                                                                                        CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 5 of 48 Page ID #:5




                                                                           1          2.    The Product(s). The Product at issue includes the Godiva Signature Dark
                                                                           2    Chocolate 72% Cacao and all other substantially similar chocolate products
                                                                           3    manufactured or sold by Defendant to consumers in California and the United States
                                                                           4    that materially omit the contents of lead and cadmium therein.
                                                                           5          3.    The Deception. Defendant has misled reasonable consumers, including
                                                                           6    Plaintiff, into believing the Product is safe for consumption when it is not. A
                                                                           7    December 2022 Consumer Reports study measured the amount of heavy metals in
                                                                           8    dark chocolates, including the Product, against California’s daily MADL for lead (0.5
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                           9    micrograms) and cadmium (4.1 micrograms). 3 The study found that Defendant’s
                                                                           10   Product “contain[s] cadmium and lead—two heavy metals linked to a host of health
                                                                           11   problems in children and adults,” in amounts such that “eating just an ounce a day
                                                                           12   would put an adult over a level that public health authorities and Consumer Reports’
                                                                           13   experts say may be harmful . . . .” Id. The study also found that just an ounce of the
                                                                           14   Product contained a staggering amount of lead, measuring at 146% of California’s
                                                                           15   MADL for lead, and a significant amount of cadmium, measuring at 25% of the
                                                                           16   MADL for cadmium. Id. The Product contains 3.1 ounces of chocolate. Exposure to
                                                                           17   lead and cadmium can have detrimental effects on humans. Lead and cadmium can
                                                                           18   accumulate in the body over time and cause a range of health issues, including
                                                                           19   developmental toxicity, male reproductive toxicity, and female reproductive toxicity.4
                                                                           20   Frequent, long-term exposure to even small amounts of heavy metals can also lead to
                                                                           21   “nervous system problems, hypertension, immune system suppression, kidney
                                                                           22

                                                                           23

                                                                           24   3
                                                                                  “Lead and Cadmium Could Be in Your Dark Chocolate” (Dec. 15, 2022),
                                                                           25   Consumer Reports, https://www.consumerreports.org/health/food-safety/lead-and-
                                                                                cadmium-in-dark-chocolate-a8480295550/.
                                                                           26   4
                                                                                  California Office of Environmental Health Hazard Assessments, Lead and Lead
                                                                           27   Compounds, OEHHA, https://oehha.ca.gov/proposition-65/chemicals/lead-and-lead-
                                                                                compounds; California Office of Environmental Health Hazard Assessments,
                                                                           28
                                                                                Cadmium, OEHHA, https://oehha.ca.gov/proposition-65/chemicals/cadmium.
                                                                                                                          3
                                                                                                         CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 6 of 48 Page ID #:6




                                                                           1    damage, and reproductive issues.”5 Defendant’s failure to disclose its Product’s
                                                                           2    alarming lead and cadmium content places consumers in jeopardy of developing
                                                                           3    illnesses.
                                                                           4           4.    Duty to Disclose and Materiality of Material Omission. Defendant had
                                                                           5    a duty to warn consumers about the risks associated with consuming its Product
                                                                           6    because Defendant knew or should have known that its Product contains heavy metals
                                                                           7    harmful to humans. Defendant’s failure to disclose the heavy metal content in its
                                                                           8    Product is a material omission because the information is relevant to consumers
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                           9    making informed purchase decisions. Lead and cadmium are known to have adverse
                                                                           10   effects on humans, and this information could influence consumers’ decisions to
                                                                           11   purchase the Product. Plaintiff and other consumers like her would not have
                                                                           12   purchased the Product had they known the Product contained harmful heavy metals.
                                                                           13          5.    Primary Dual Objectives. Plaintiff brings this action individually and in
                                                                           14   a representative capacity on behalf of those similarly situated consumers who
                                                                           15   purchased the Product during the relevant Class Period (Class and/or Subclass defined
                                                                           16   infra), for dual primary objectives: One, Plaintiff seeks, on her behalf and on behalf
                                                                           17   of the Class/Subclass, injunctive relief to stop Defendant’s unlawful manufacture,
                                                                           18   marketing, and sale of the Product with the material omission about its lead and
                                                                           19   cadmium content to avoid or mitigate the risk of deceiving the public into believing
                                                                           20   the Product is safe for consumption, by requiring that Defendant change its business
                                                                           21   practices, which may include one or more of the following: inclusion of a disclaimer
                                                                           22   on the Product’s labels and/or packaging, modification of the Product’s formulation
                                                                           23   be it a change in ingredients or their sourcing and manufacturing processes, and/or
                                                                           24   discontinuance of the Product’s manufacture, marketing, and/or sale. Two, Plaintiff
                                                                           25   seeks, on Plaintiff’s behalf and on behalf of the Class/Subclass, a monetary recovery
                                                                           26
                                                                                5
                                                                           27    “Lead and Cadmium Could Be in Your Dark Chocolate” (December 15, 2022),
                                                                                Consumer Reports, https://www.consumerreports.org/health/food-safety/lead-and-
                                                                           28
                                                                                cadmium-in-dark-chocolate-a8480295550/.
                                                                                                                           4
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 7 of 48 Page ID #:7




                                                                           1    of the full price that Plaintiff and consumers paid for the Product, which should have
                                                                           2    disclosed the heavy metal content in them, as consistent with permissible law
                                                                           3    (including, for example, damages, restitution, disgorgement, and any applicable
                                                                           4    penalties/punitive damages solely as to those causes of action so permitted).
                                                                           5                                       JURISDICTION
                                                                           6          6.     This Court has subject matter jurisdiction over this action pursuant to the
                                                                           7    Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d), because (i) there are 100 or
                                                                           8    more class members, (ii) there is an aggregate amount in controversy exceeding
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                           9    $5,000,000, exclusive of interest and costs, and (iii) there is minimal diversity because
                                                                           10   at least one plaintiff and defendant are citizens of different states. This Court also has
                                                                           11   supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.
                                                                           12                                           VENUE
                                                                           13         7.     Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action
                                                                           14   because a substantial part of the events, omissions, and acts giving rise to the claims
                                                                           15   herein occurred in this District. Plaintiff is a citizen of California, resides in this
                                                                           16   District, and purchased the Product within this District. Moreover, Defendant receives
                                                                           17   substantial compensation from sales in this District, and Defendant’s material
                                                                           18   omissions had a substantial effect in this District.
                                                                           19                                          PARTIES
                                                                           20         8.     Plaintiff Kermani. The following is alleged based upon personal
                                                                           21   knowledge:
                                                                           22                a. Residence. Plaintiff is a resident of California.
                                                                           23                b. Purchase Details. Plaintiff purchased Defendant’s Godiva Signature
                                                                           24                   Dark Chocolate 72% Cacao for approximately $4 at a Walgreens store
                                                                           25                   in Los Angeles, California, in or around Winter 2022.
                                                                           26                c. Reliance on Material Omission. In making her purchase, Plaintiff
                                                                           27                   relied upon the Product’s labeling, packaging, and advertising.
                                                                           28                   Plaintiff believed the Product could be safely consumed because the
                                                                                                                            5
                                                                                                           CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 8 of 48 Page ID #:8




                                                                           1                   Product did not contain any warning or disclosure about the lead and
                                                                           2                   cadmium content therein.
                                                                           3                d. No Actual Knowledge of Falsity. At the time of purchase, Plaintiff
                                                                           4                   did not know that the Product contained lead or cadmium or that it was
                                                                           5                   unsafe for consumption.
                                                                           6                e. No Warning. Plaintiff did not see any disclaimer, qualifier, or other
                                                                           7                   explanatory statement or information on the Product’s labels or
                                                                           8                   packaging that suggested that the Product contained lead and cadmium
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                           9                   or that it was not safe for consumption. Defendant had exclusive
                                                                           10                  knowledge of this information but nevertheless failed to inform
                                                                           11                  consumers.
                                                                           12               f. Causation/Damages. Plaintiff would not have purchased the Product
                                                                           13                  if the heavy metal content contained in it had been disclosed, and had
                                                                           14                  Plaintiff known that the Product was not safe for consumption.
                                                                           15               g. Desire to Repurchase. Plaintiff continues to see the Product available
                                                                           16                  for sale and desires to purchase it again if she could be sure about the
                                                                           17                  contents of the Product.
                                                                           18               h. Lack of Personal Knowledge/Expertise to Determine Truth.
                                                                           19                  Plaintiff is not personally familiar with the science behind the Product
                                                                           20                  as she does not possess any specialized knowledge, skill, experience,
                                                                           21                  or education in chocolate products, similar to and including the
                                                                           22                  Product, and she has no way of determining whether the Product
                                                                           23                  contains heavy metals.
                                                                           24               i. Inability to Rely. Plaintiff is, and continues to be, unable to rely on
                                                                           25                  the Product’s true contents.
                                                                           26         9.    Plaintiff’s Future Harm. Defendant continues to market and sell the
                                                                           27   Product without disclosing the heavy metals contained in them. Plaintiff wants to
                                                                           28   purchase the Product in the future if she can be sure about the content in the Product.
                                                                                                                           6
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 9 of 48 Page ID #:9




                                                                           1    However, Plaintiff is an average consumer who is not sophisticated in, for example,
                                                                           2    dark chocolate products, similar to and including the Product, and she cannot
                                                                           3    determine if harmful heavy metals, such as lead and cadmium, are present in
                                                                           4    Defendant’s Product. Since Plaintiff would like to purchase the Product again—
                                                                           5    despite the fact that the Product currently fail to disclose the heavy metals contained
                                                                           6    in them—Plaintiff would likely and reasonably, but incorrectly, assume the are safe
                                                                           7    for consumption if no appropriate warning is placed on the Product’s labels.
                                                                           8    Accordingly, Plaintiff is at risk of reasonably, but incorrectly, assuming that
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                           9    Defendant has fixed the Product such that Plaintiff may buy them again, believing
                                                                           10   they no longer contain harmful heavy metals. In this regard, Plaintiff is currently and,
                                                                           11   in the future, deprived of the ability to rely on the Product’s labeling and packaging.
                                                                           12         10. Defendant Godiva Chocolatier. Defendant is incorporated in the state
                                                                           13   of New Jersey and maintains its headquarters in New York, New York. Defendant
                                                                           14   was doing business in the state of California at all relevant times, including the Class
                                                                           15   Period. Directly and through its agents, Defendant has substantial contacts with and
                                                                           16   receives substantial benefits and income from and through the state of California, as
                                                                           17   well as the United States of America. Defendant is an owner, manufacturer, and/or
                                                                           18   distributor of the Product, and created and/or authorized the labeling to market the
                                                                           19   Product. Defendant and its agents promoted, marketed, and sold the Product at issue
                                                                           20   throughout the United States and, in particular, within this state and judicial district.
                                                                           21   The unfair, unlawful, deceptive, and misleading labeling on the Product was prepared,
                                                                           22   authorized, ratified, and/or approved by Defendant and its agents to deceive and
                                                                           23   mislead consumers in the state of California and the United States into purchasing the
                                                                           24   Product. Additionally, Defendant knew about the heavy metal content in the Product
                                                                           25   but failed to disclose that information to consumers. The information was material,
                                                                           26   and Defendant had a duty to disclose the information, because the information could
                                                                           27   influence a consumer’s purchasing decision, and it therefore created an unreasonable
                                                                           28   safety risk to consumers.
                                                                                                                            7
                                                                                                            CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 10 of 48 Page ID #:10




                                                                            1                              FACTUAL ALLEGATIONS
                                                                            2         A.    Background
                                                                            3         11. History of Chocolate. Chocolate is derived from Theobroma cacao, also
                                                                            4   known as the cacao tree or cocoa tree. 6 The cacao/cocoa tree is native to Central and
                                                                            5   South America and grows upwards to 30 feet.7 It produces a pod-like fruit which
                                                                            6   contains about 40 to 50 beans once matured.8 All forms of chocolates are derived
                                                                            7   from cacao beans. To create chocolate, the cacao beans are separated from the pod
                                                                            8   and the pulp within the pod.9 The beans are then fermented, dried, and roasted.10 The
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   roasted beans are next crushed, allowing for the removal of their outer hulls.11 The
                                                                           10   nibs that remain are ground to form a paste-like chocolate liquor. 12 This chocolate
                                                                           11   liquor is the starting point of all chocolate products. 13 It is mixed with other
                                                                           12   ingredients, including sugar, milk, additional cacao fat or butter (cacao bean contain
                                                                           13   cacao fat/butter), and various spices, which, when blended with emulsifiers, create
                                                                           14

                                                                           15
                                                                                6
                                                                                  “Theobroma cacao L. (Malvaceae),” UNIVERSITY OF OXFORD,
                                                                           16   https://herbaria.plants.ox.ac.uk/bol/plants400/Profiles/ST/Theo#:~:text=Theobroma
                                                                           17   %20cacao%20is%20the%20Latin,his%20Species%20Plantarum%20(1753).
                                                                                7
                                                                                  “Theobroma cacao,” MISSOURI BOTANICAL GARDEN,
                                                                           18   https://www.missouribotanicalgarden.org/PlantFinder/PlantFinderDetails.aspx?taxo
                                                                           19   nid=287263.
                                                                                8
                                                                                  Frank Robles, “About The Cacao Tree,” CHOCOLATE,
                                                                           20   https://www.chocolate.org/blogs/chocolate-blog/about-the-cacao-tree.
                                                                                9
                                                                           21     “Harvesting & Post-harvest processing,” ICCO Secretariat
                                                                                INTERNATIONAL COCOA ORGANIZATION, https://www.icco.org/harvesting-post-
                                                                           22   harvest-new/.
                                                                           23
                                                                                10
                                                                                   Veronika Barišić, et al., “The Chemistry behind Chocolate Production,”
                                                                                NATIONAL LIBRARY OF MEDICINE, (Aug. 30, 2019),
                                                                           24   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6749277/.
                                                                                11
                                                                           25      “How is Chocolate Made?” SCIENCE OF COOKING,
                                                                                https://www.scienceofcooking.com/chocolate/how-is-chocolate-
                                                                           26
                                                                                made.htm#:~:text=GRINDING%20OF%20NIB,flows%20out%20in%20liquid%20f
                                                                           27   orm.
                                                                                12
                                                                                   Id.
                                                                           28   13
                                                                                   Id.
                                                                                                                          8
                                                                                                         CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 11 of 48 Page ID #:11




                                                                            1   the final chocolate product consumers purchase. 14
                                                                            2         12. Chocolate’s popularity made chocolate a commodity. The industrial
                                                                            3   revolution allowed companies like Cadbury, Nestle and Hershey to mass-produce
                                                                            4   chocolate products. 15 Mass-production resulted in lower prices, meaning greater
                                                                            5   percentages of the population began enjoying chocolate products.16 Today chocolate
                                                                            6   is a $130 billion global industry, and Americans spend roughly $22 billion a year on
                                                                            7   chocolate products. 17
                                                                            8         13. On average, each American consumes nearly twelve pounds of chocolate
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   per year.18 This appetite for chocolate is warranted. Not only is chocolate tasty, but
                                                                           10   studies show that it has positive physical effects on humans, which is why the product
                                                                           11   has been sought after for thousands of years.19 Chemicals in chocolate have been
                                                                           12   shown to trigger euphoria, the same endorphins that trigger the “in love” feeling in
                                                                           13

                                                                           14   14
                                                                                   Id.
                                                                                15
                                                                           15      “More Chocolate, More Quickly!: Changes in Chocolate Consumption brought
                                                                                about by the Industrial Revolution,” WORD PRESS, (Mar. 24, 2020),
                                                                           16   https://chocolateclass.wordpress.com/2020/03/24/more-chocolate-more-quickly-
                                                                           17   changes-in-chocolate-consumption-brought-about-by-the-industrial-revolution/.
                                                                                16
                                                                                   Id.
                                                                           18   17
                                                                                   Govind Bhutada, “Cocoa’s bittersweet supply chain in one visualization,” WORLD
                                                                           19   ECONOMIC FORUM, (Nov. 4, 2020),
                                                                                https://www.weforum.org/agenda/2020/11/cocoa-chocolate-supply-chain-business-
                                                                           20   bar-africa-exports/; Linda Searing, “The Big Number: $22 billion a year on
                                                                           21   chocolate. Is that healthy?” THE WASHINGTON POST, (Feb. 10, 2018),
                                                                                https://www.washingtonpost.com/national/health-science/the-big-number22-billion-
                                                                           22   a-year-on-chocolate-is-that-healthy/2018/02/09/6a6cee4c-0d1a-11e8-8890-
                                                                           23   372e2047c935_story.html.
                                                                                18
                                                                                   Linda Searing, “The Big Number: $22 billion a year on chocolate. Is that
                                                                           24   healthy?” THE WASHINGTON POST, (Feb. 10, 2018),
                                                                           25   https://www.washingtonpost.com/national/health-science/the-big-number22-billion-
                                                                                a-year-on-chocolate-is-that-healthy/2018/02/09/6a6cee4c-0d1a-11e8-8890-
                                                                           26
                                                                                372e2047c935_story.html.
                                                                                19
                                                                           27      Donatella Lippi, “Chocolate in History: Food, Medicine, Medi-Food,” NATIONAL
                                                                                LIBRARY OF MEDICINE, (May 5, 2013),
                                                                           28
                                                                                https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3708337/.
                                                                                                                          9
                                                                                                         CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 12 of 48 Page ID #:12




                                                                            1   humans, which is why chocolate is unsurprisingly the go-to Valentine’s Day gift.20 In
                                                                            2   surveys measuring flavors, chocolate consistently remains the favorite.21 Chocolate’s
                                                                            3   ability to increase alertness and energy is well-documented, which is why chocolate
                                                                            4   has been standard issue to U.S. servicemen since George Washington.22 The effects
                                                                            5   of chocolate are so well-known, it has been an integral part of the cultural psyche
                                                                            6   since the Aztecs.23 Even modern examples like the 1971 film Willy Wonka & the
                                                                            7   Chocolate Factory and the 2000 film Chocolate reference chocolate’s cultural impact.
                                                                            8   Diners would be hard-pressed to see a dessert menu that did not contain at least one
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   chocolate dessert.
                                                                           10         14. Health Benefits of Dark Chocolate. Dark chocolate has been widely
                                                                           11   considered to be the healthier option among other chocolate types. This is because
                                                                           12   dark chocolate contains high concentrations of cocoa flavonoids, which are potent
                                                                           13   antioxidants. Among its many benefits, dark chocolate is known to positively affect
                                                                           14   heart health. Studies have shown that dark chocolate has the potential to reduce the
                                                                           15   risk of heart disease because it can help improve blood flow and lower blood
                                                                           16   pressure. 24 Dark chocolate can also have positive effects on cognitive function. One
                                                                           17   study found that consuming cocoa flavonoids can help improve memory and
                                                                           18

                                                                           19
                                                                                20
                                                                                   Id.; Chris Kilham, “Chocolate: The Love Drug. . .And Why It’s Good for You.”
                                                                           20   FOX NEWS, (Oct. 23, 2015), https://www.foxnews.com/health/chocolate-the-love-
                                                                           21   drug-and-why-its-good-for-you.
                                                                                21
                                                                                   ”Chocolate is America's favorite ice cream flavor, survey says,” CBS
                                                                           22   MINNESOTA, (July 15, 2022) https://www.cbsnews.com/minnesota/news/america-
                                                                           23   favorite-ice-cream-flavor-chocolate/.
                                                                                22
                                                                                   Sean Jacobson, ‘“Chocolate is a Fighting Food! – Chocolate bars in the Second
                                                                           24   World War,” NATIONAL MUSEUM OF AMERICAN HISTORY, (Oct. 24, 2016),
                                                                           25   https://americanhistory.si.edu/blog/chocolate-bars-second-world-war.
                                                                                23
                                                                                   “The Development of Chocolate,” WORLD PRESS, (Mar. 15, 2019),
                                                                           26
                                                                                https://chocolateclass.wordpress.com/2019/03/15/the-development-of-chocolate/.
                                                                                24
                                                                           27      “The Neuroprotective Effects of Cocoa Flavanol and its Influence on Cognitive
                                                                                Performance,” National Library of Medicine (Feb. 5, 2013),
                                                                           28
                                                                                https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3575938/.
                                                                                                                         10
                                                                                                         CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 13 of 48 Page ID #:13




                                                                            1   attention, especially among elderly participants with mild cognitive impairments.25
                                                                            2   Other studies have suggested that dark chocolate can have anti-inflammatory
                                                                            3   properties which can help reduce the risk of chronic diseases such as diabetes and
                                                                            4   cancer. 26 While other studies have found that the flavonoids in dark chocolate can
                                                                            5   improve mood and lower symptoms of anxiety and depression. 27
                                                                            6         15. Consumer Demand for Dark Chocolate. For consumers, dark chocolate
                                                                            7   has become increasingly popular and sought after because of its perceived health
                                                                            8   benefits.28 Indeed, over half of consumers believe that dark chocolate is healthier
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   compared to other types of chocolate. 29 The cacao bean is one of the best-known
                                                                           10   sources of dietary polyphenols, constituting approximately 10% of a whole bean’s
                                                                           11   dry weight. 30 The antioxidant properties of polyphenols are known to have positive
                                                                           12   effects on the cardiovascular system, the central nervous system, the intestinal system,
                                                                           13   and the immune system. 31 Dark chocolate in particular contains a higher percentage
                                                                           14
                                                                                25
                                                                           15      Id.
                                                                                26
                                                                                   “The Effects of Cocoa on the Immune System,” National Library of Medicine
                                                                           16   (June 4, 2013), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3671179/.
                                                                                27
                                                                           17      “The Neuroprotective Effects of Cocoa Flavanol and its Influence on Cognitive
                                                                                Performance,” National Library of Medicine (Feb. 5, 2013),
                                                                           18   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3575938/.
                                                                                28
                                                                           19      “United States Chocolate Market – Growth, Trends, Covid-19 Impact, and
                                                                                Forecasts (2023-2028” Mordor Intelligence,
                                                                           20   https://www.mordorintelligence.com/industry-reports/united-states-chocolate-
                                                                           21   market; “Phenolic and Theobromine Contents of Commercial Dark, Milk and White
                                                                                Chocolates on the Malaysian Market” (Jan. 14, 2009), National Library of
                                                                           22   Medicine, https://ncbi.nlm.nih.gov/pmc/articles/PMC6254055/.
                                                                                29
                                                                           23      “Lead and Cadmium Could Be in Your Dark Chocolate” (Dec. 15, 2022),
                                                                                Consumer Reports, https://www.consumerreports.org/health/food-safety/lead-and-
                                                                           24   cadmium-in-dark-chocolate-a8480295550/.
                                                                                30
                                                                           25      “Chocolate, ‘Food of the Gods’: History, Science, and Human Health” (Dec. 6,
                                                                                2019), National Library of Medicine,
                                                                           26
                                                                                https://ncbi.nlm.nih.gov/pmc/articles/PMC6950163/.
                                                                                31
                                                                           27      “Cocoa and Dark Chocolate Polyphenols: From Biology to Clinical Applications”
                                                                                (June 9, 2017), National Library of Medicine,
                                                                           28
                                                                                https://ncbi.nlm.nih.gov/pmc/articles/PMC5465250/.
                                                                                                                           11
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 14 of 48 Page ID #:14




                                                                            1   of cocoa and thus has higher phenolic antioxidant compounds when compared to
                                                                            2   other chocolate varieties. Id.
                                                                            3         16. Heavy Metals in Chocolate. Despite chocolate’s popularity and health
                                                                            4   benefits, researchers, manufacturers, and chocolate companies have known about the
                                                                            5   high levels of lead and cadmium in cocoa/chocolate products. 32 During the late 1970s,
                                                                            6   after seeing high concentrations of lead in foods and human populations, researchers
                                                                            7   began to focus on the source of lead in cocoa, the main ingredient in chocolate
                                                                            8   products. Id. Regarding milk chocolate products, the Food and Drug Administration
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   reported in its 2000 Total Diet Survey (TDS), that the “average lead content for milk
                                                                           10   chocolate candy bars (27 ng/g) was the fourth highest reported for all food items.” Id.
                                                                           11   The 20th Australian TDS showed that “milk chocolate had the second highest value
                                                                           12   of 65 foods, with a mean value of 21 ng/g and a maximum value of 40 ng/g,” whereas
                                                                           13   the 1997/1998 New Zealand TDS found that “lead concentration in chocolate biscuits
                                                                           14   (15 ng/g) was 3-fold greater than those of cracker (5.2 ng/g) and plain sweet biscuits
                                                                           15   (5.2 ng/g).” Id. A 2005 study shows that cocoa-based chocolates sold in India, Dahiya
                                                                           16   had an “average lead concentration of 1.92 µg/g (range, 0.05-8.3 µg/g),” and another
                                                                           17   1999 study found the “average lead content of cocoa powders sold in Nigeria to be
                                                                           18   310 ng/g with a range of 80-850 ng/g.” Id.
                                                                           19         17. Lead and cadmium concentrations in dark chocolate are higher than those
                                                                           20   in milk chocolate, due to the higher amounts of cocoa solids. In a 2013 study,
                                                                           21   researchers found that “there was a linear correlation between the level of trace
                                                                           22   elements in chocolate and the cocoa solids content.”33 Specifically, “lead was found
                                                                           23   to be correlative to the cocoa solids content in all brands” evaluated. Id. For example,
                                                                           24
                                                                                32
                                                                           25      Rankin, Charley W. “Lead contamination in cocoa and cocoa products: isotopic
                                                                                evidence of global contamination” (Oct. 2005), Environmental Health Perspective,
                                                                           26
                                                                                https://pubmed.ncbi.nlm.nih.gov/16203244/.
                                                                                33
                                                                           27      Yanus, Rinat Levi, et al. “Trace elements in cocoa solids and chocolate: An
                                                                                ICPMS study,” (May 16, 2013), Talanta,
                                                                           28
                                                                                https://www.sciencedirect.com/science/article/abs/pii/S0039914013008473.
                                                                                                                           12
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 15 of 48 Page ID #:15




                                                                            1   the “distribution of trace metals in cocoa powder” was 103 ng/g for lead and 125 ng/g
                                                                            2   for cadmium. In another 2014 study, the concentrations of cadmium and lead ranged
                                                                            3   from “<1.7-107.6 and <21-138.4 ng/g, respectively, and the highest concentrations of
                                                                            4   cadmium and lead were found in dark chocolates.”34 This study also found that a
                                                                            5   “linear correlation exists between the cocoa content and the concentration of cadmium
                                                                            6   (R2=0.907) and lead (R2=0.955),” where the R2 value “indicates the percentage of the
                                                                            7   variance” between two variables, meaning a value closer to 1, demonstrates a higher
                                                                            8   level of correlation. Id. This means that dark chocolate with 47-85% cocoa solids
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   concentrations had higher lead and cadmium concentrations. Cocoa solids are the
                                                                           10   biggest sources of lead and cadmium in cocoa products, so dark chocolate products
                                                                           11   that have a high concentration of cocoa solids have higher concentrations of lead and
                                                                           12   other heavy metals.
                                                                           13         18. Based on the prevailing research on lead and cadmium, Defendant knew
                                                                           14   or should have known that its chocolates have excessive levels of these heavy metals.
                                                                           15   Yet, Defendant failed to disclose to consumers the heavy metal content contained in
                                                                           16   its Product. This information is material to consumers because it influences their
                                                                           17   decision about whether to purchase the Product. This is especially true when the
                                                                           18   Product contains significant levels of both lead and cadmium, which are toxic heavy
                                                                           19   metals that can affect consumers’ health and safety. Defendant’s failure to disclose
                                                                           20   this information created a substantial and unreasonable health and safety risk to
                                                                           21   consumers.
                                                                           22         19. Sources of Lead and Cadmium. Lead does not appear in cacao beans
                                                                           23   naturally; rather, lead is introduced in various ways from the soil where the cacao
                                                                           24   beans are grown and the water used for irrigation to the equipment used to process
                                                                           25

                                                                           26
                                                                                34
                                                                           27     Villa, Javier E. L., et al. “Cadmium and Lead in Chocolates Commercialized in
                                                                                Brazil,” (Aug. 15, 2014), Journal of Agricultural and Food Chemistry,
                                                                           28
                                                                                https://pubs.acs.org/doi/abs/10.1021/jf5026604.
                                                                                                                         13
                                                                                                         CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 16 of 48 Page ID #:16




                                                                            1   the beans.35 These sources can include the “burning of leaded gasoline and diesel fuel,
                                                                            2   from leaded paint, the burning of plastics and/or garbage, the operation of smelters
                                                                            3   and other industrial processes, use of fertilizers, and emissions from coal-fired power
                                                                            4   plants,” which all spread lead to the soil and air.36 The lead particles in the soil and
                                                                            5   air then penetrate the cacao beans during the outdoor harvesting, drying, and
                                                                            6   fermenting processes, and they remain on the wet cacao beans throughout other
                                                                            7   manufacturing steps. Id. Lead can also be present in metal equipment like the mixers
                                                                            8   and grinders used to process the beans. Much like lead, cadmium is introduced
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   through the soil as it is absorbed by the roots of the cacao trees and deposited in parts
                                                                           10   of the fruits. Id. Cadmium levels are influenced by the pH of the soil, metals from
                                                                           11   fertilizers, and other inputs like water. Id.
                                                                           12         20. Harmful Health Effects of Lead and Cadmium. Despite being aware
                                                                           13   of the presence of lead and cadmium in its Product, Defendant continues to market
                                                                           14   and sell it without providing consumers with a warning about the potential health risks
                                                                           15   that these heavy metals pose, particularly to young children.
                                                                           16         21. Young children are big consumers of chocolates, and thus “may be at risk
                                                                           17   of exceeding the daily limit of lead” since “one 10g cube of dark chocolate may
                                                                           18   contain as much as 20% of the daily lead oral limit.”37 Children are disproportionally
                                                                           19   affected by heavy metal consumption, because children have a high digestive tract
                                                                           20   absorption factor. Id. Children, ages 2-6 years old, have an absorption factor of 30-
                                                                           21

                                                                           22   35
                                                                                   Rankin, Charley W. “Lead contamination in cocoa and cocoa products: isotopic
                                                                           23   evidence of global contamination” (Oct. 2005), Environmental Health Perspective,
                                                                                https://pubmed.ncbi.nlm.nih.gov/16203244/.
                                                                           24   36
                                                                                   Behar, Andrew. “New Report Details Simple, Safe, and Low-Cost Solutions to
                                                                           25   Reduce Levels of Lead and Cadmium in Chocolate” (Aug. 17, 2022), As You Sow,
                                                                                https://www.asyousow.org/blog/2022/8/17/new-report-explains-simple-safe-and-
                                                                           26
                                                                                low-cost-solutions-to-reduce-levels-of-lead-and-cadmium-in-chocolate.
                                                                                37
                                                                           27      Yanus, Rinat Levi, et al. “Trace elements in cocoa solids and chocolate: An
                                                                                ICPMS study,” (May 16, 2013), Talanta,
                                                                           28
                                                                                https://www.sciencedirect.com/science/article/abs/pii/S0039914013008473.
                                                                                                                                14
                                                                                                           CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 17 of 48 Page ID #:17




                                                                            1   75% compared to 11% absorption by adults. Id. Thus, children are more affected by
                                                                            2   lead and cadmium in chocolate products, as they absorb a higher percentage of these
                                                                            3   heavy metals. This is especially concerning as children are a target group for
                                                                            4   chocolate manufacturers.
                                                                            5         22. Lead has been linked to various negative health effects. Lead can be
                                                                            6   absorbed and stored in human bodies, organs, and tissues.38 Short-term exposure to
                                                                            7   high amounts of lead can lead to encephalopathy. Id. Encephalopathy is a term for
                                                                            8   any disease of the brain that alters brain function or structure.39 Encephalopathy may
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   quickly develop to “seizures, coma, and death from cardiorespiratory arrest.”40 In
                                                                           10   pregnant women, exposure to lead can affect the unborn child, and children “born to
                                                                           11   parents exposed to excess lead levels are more likely to have birth defects, mental
                                                                           12   retardation, behavioral disorders or die during the first year of childhood.” Id.
                                                                           13   Furthermore, lead exposure can cause miscarriages, stillbirths, and infertility in both
                                                                           14   men and women. Id. Long-term exposure to lead can result in severe damage to blood-
                                                                           15   forming, nervous, urinary and reproductive systems.41 Common symptoms of chronic
                                                                           16   overexposure include: “loss of appetite, metallic taste in the mouth, anxiety,
                                                                           17

                                                                           18   38
                                                                                   “Substance Data Sheet for Occupational Exposure to Lead” (May 31, 1991),
                                                                           19   United States Department of Labor, https://www.osha.gov/laws-
                                                                                regs/regulations/standardnumber/1910/1910.1025AppA#:~:text=A%20significant%
                                                                           20   20portion%20of%20the,the%20blood%20and%20other%20tissues.
                                                                                39
                                                                           21       “Encephalopathy” National Institute of Neurological Disorders and Stroke,
                                                                                https://www.ninds.nih.gov/health-
                                                                           22   information/disorders/encephalopathy#:~:text=Encephalopathy%20is%20a%20term
                                                                           23   %20for,Metabolic%20or%20mitochondrial%20dysfunction.
                                                                                40
                                                                                   “Substance Data Sheet for Occupational Exposure to Lead” (May 31, 1991),
                                                                           24   United States Department of Labor, https://www.osha.gov/laws-
                                                                           25   regs/regulations/standardnumber/1910/1910.1025AppA#:~:text=A%20significant%
                                                                                20portion%20of%20the,the%20blood%20and%20other%20tissues.
                                                                           26   41
                                                                                    “Substance Data Sheet for Occupational Exposure to Lead” (May 31, 1991),
                                                                           27   United States Department of Labor, https://www.osha.gov/laws-
                                                                                regs/regulations/standardnumber/1910/1910.1025AppA#:~:text=A%20significant%
                                                                           28
                                                                                20portion%20of%20the,the%20blood%20and%20other%20tissues.
                                                                                                                          15
                                                                                                           CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 18 of 48 Page ID #:18




                                                                            1   constipation, nausea, pallor, excessive tiredness, weakness, insomnia, headache,
                                                                            2   nervous irritability, muscle and joint pain or soreness, fine tremors, numbness,
                                                                            3   dizziness, hyperactivity, and colic, which can cause severe abdominal pain. Id.
                                                                            4   Although exposure to lead is harmful to people of all ages, it typically affects children
                                                                            5   more than adults because children tend to show signs of severe lead toxicity at lower
                                                                            6   levels than adults.42 In fact, any level of lead can have toxic manifestations because
                                                                            7   breathing in, swallowing, or absorbing lead particles results in a high level of lead
                                                                            8   remaining in the body, stored in bones, blood, and tissues, for months and even
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   years. 43 Therefore, no amount of lead exposure is truly safe, making the Product
                                                                           10   especially dangerous as they contain a significant level of lead, 146% of the MADL
                                                                           11   for lead, an amount that can cause drastic and severe adverse health effects especially
                                                                           12   with repeated consumption.
                                                                           13         23. Like lead, cadmium causes harmful health effects. Cadmium is an
                                                                           14   element classified as a transition metal that is primarily used for commercial purposes
                                                                           15   and is produced by refining zinc ores. 44 Consuming food or water with high cadmium
                                                                           16   levels severely irritates the stomach, which can lead to vomiting and diarrhea. 45 In
                                                                           17   severe cases, exposure to cadmium can cause death. Id. Long-term exposure to low
                                                                           18   levels of cadmium can lead to a build-up of cadmium in the kidneys, which can
                                                                           19   eventually damage the kidneys when the build-up becomes large enough, and it can
                                                                           20   cause bones to become fragile and break easily. Id. Lab animals have been studied to
                                                                           21
                                                                                42
                                                                                   “Toxicology Profile for Lead” (Aug. 2020), U.S. Department for Health and
                                                                           22   Human Services: Agency for Toxic Substances and Disease Registry,
                                                                           23   https://www.atsdr.cdc.gov/ToxProfiles/tp13.pdf.
                                                                                43
                                                                                   “Lead Poisoning” (Jan. 21, 2022), Mayo Clinic,
                                                                           24   https://www.mayoclinic.org/diseases-conditions/lead-poisoning/symptoms-
                                                                           25   causes/syc-20354717.
                                                                                44
                                                                                   “What is Cadmium” (Dec. 10, 2013), U.S. Department for Health and Human
                                                                           26
                                                                                Services: Agency for Toxic Substances and Disease Registry,
                                                                           27   https://www.atsdr.cdc.gov/csem/cadmium/What-is-Cadmium.html.
                                                                                45
                                                                                   “Toxicology Profile for Cadmium” (Sept. 2012), U.S. Department of Health and
                                                                           28
                                                                                Human Services, https://www.atsdr.cdc.gov/ToxProfiles/tp5.pdf.
                                                                                                                           16
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 19 of 48 Page ID #:19




                                                                            1   confirm these effects, but current research suggests that young children are more
                                                                            2   easily susceptible to cadmium exposure, and so negative health effects are more
                                                                            3   severe for children. Id. Similarly to lead, exposure to cadmium even at the lowest
                                                                            4   levels can have harmful effects over time as cadmium builds up in the kidneys,
                                                                            5   stomach, and bones with each exposure.46 Defendant’s Godiva Signature Dark
                                                                            6   Chocolate 72% Cacao contains cadmium at 25% of the respective MADL, resulting
                                                                            7   in significant exposure to cadmium for anyone who consumes the Product and
                                                                            8   potential long-lasting and alarming health effects.
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9         24. Defendant Knew or Should Have Known That Its Chocolate
                                                                           10   Contained Harmful Heavy Metals. A California-based consumer advocacy group
                                                                           11   called As You Sow performed a study of the heavy metal content of cocoa products.47
                                                                           12   The group sent samples of 50 different chocolate products to a third-party lab and
                                                                           13   discovered that more than half of these samples contained lead and cadmium. The
                                                                           14   levels at which cadmium and lead were present exceeded California’s daily MADL,48
                                                                           15   which is based on California’s Proposition 65 safe harbor levels of 0.5 micrograms
                                                                           16   for lead and 4.1 micrograms for cadmium.49 The study purposefully did not disclose
                                                                           17   the exact levels contained within specific products, in hopes that manufacturers would
                                                                           18   partner with As You Sow to address the high levels of lead and cadmium in their
                                                                           19   respective product lines. Ultimately, various manufacturers represented by the
                                                                           20   National Confectioners Association agreed to regularly test their chocolate products
                                                                           21   and to include warning labels on those that exceeded lead and cadmium threshold
                                                                           22

                                                                           23
                                                                                46
                                                                                   “Cadmium Factsheet” (April 7, 2017), Centers for Disease Control and
                                                                           24   Prevention, https://www.cdc.gov/biomonitoring/Cadmium_FactSheet.html.
                                                                                47
                                                                           25      Kounang, Nadia. “Is There Lead in Your Chocolate?” CNN. Cable News
                                                                                Network (Mar. 25, 2016) https://www.cnn.com/2016/03/25/health/chocolate-lead-
                                                                           26
                                                                                test/index.html.
                                                                                48
                                                                           27      Id.
                                                                                49
                                                                                   “Proposition 65,” California Office of Environmental Health Hazard Assessment,
                                                                           28
                                                                                OEHHA, https://oehha.ca.gov/proposition-65.
                                                                                                                          17
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 20 of 48 Page ID #:20




                                                                            1   levels agreed upon by As You Sow and the manufacturers. 50 As You Sow’s actions
                                                                            2   effectively alerted the National Confectioners Association’s members, including
                                                                            3   Defendant, of their duty to test and eliminate heavy metals in their products or
                                                                            4   sufficiently inform consumers about their presence and associated health risks. Yet,
                                                                            5   as Consumer Reports’ recent study reveals, the Product contains harmful levels of
                                                                            6   heavy metals and fails to include any warning to consumers about their existence.51
                                                                            7         25. By failing to inform consumers that its Product contains lead and
                                                                            8   cadmium, Defendant deceptively labels and advertises its Product as if it is safe for
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   consumption when it is not. Through its omission, Defendant exposes the consuming
                                                                           10   public to increased health risks posed by these harmful heavy metals. Defendant knew
                                                                           11   of the Product’s heavy metal content and the associated health risks and yet it failed,
                                                                           12   and continues to fail, to disclose this material information to consumers, breaching its
                                                                           13   duty to disclose and thereby seriously impacting the health of consumers.
                                                                           14         26. Creating Safe Dark Chocolate Products Is Possible. Lead can be
                                                                           15   reduced in chocolate products by improving agricultural, manufacturing, and business
                                                                           16   practices, including: (1) preventing the introduction of lead during bean fermentation
                                                                           17   and drying, (2) preventing the introduction of lead during the transportation of whole
                                                                           18   wet beans, and (3) establishing bean cleaning/winnowing quality assurance practices
                                                                           19   for reduce lead amounts. 52 Levels of cadmium can be reduced by: (1) planting new
                                                                           20   orchards in regions with low levels of cadmium, and (2) using soil amendments to
                                                                           21

                                                                           22   50
                                                                                   As You Sow v. Trader Joe’s Company, et al., No CGC-15-548791 (Consent
                                                                           23   Judgment, Feb. 15, 2018).
                                                                                51
                                                                                   “Lead and Cadmium Could Be in Your Dark Chocolate” (Dec. 15, 2022),
                                                                           24   Consumer Reports, https://www.consumerreports.org/health/food-safety/lead-and-
                                                                           25   cadmium-in-dark-chocolate-a8480295550/.
                                                                                52
                                                                                   Anh, Timothy, et al. “Expert Investigation Related to Cocoa and Chocolate
                                                                           26
                                                                                Products: Final Report” (Mar. 28, 2022). As You Sow,
                                                                           27   https://static1.squarespace.com/static/59a706d4f5e2319b70240ef9/t/62fd592790137
                                                                                e31288a1698/1660770607858/AsYouSow_ChocolateFullReport_FIN_20220817.pd
                                                                           28
                                                                                f.
                                                                                                                           18
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 21 of 48 Page ID #:21




                                                                            1   increase soil pH. Id. According to Consumer Reports’ December 2022 study that
                                                                            2   measured the amount of heavy metals in dark chocolates against California’s
                                                                            3   MADL, 53 researchers found that “while most of the chocolate bars in CR’s tests had
                                                                            4   concerning levels of lead, cadmium, or both, five of them were relatively low in both”
                                                                            5   meaning that it is “possible for companies to make products with lower amounts of
                                                                            6   heavy metals-and for consumers to find safer products that they enjoy.”54
                                                                            7        B.     Plaintiff and Other Reasonable Consumers Were Misled by
                                                                            8               Defendant’s Material Omission
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9         27. Material Omission on the Product’s Labels. Defendant manufactures,
                                                                           10   markets, advertises, labels, packages, and sells the Product. Defendant deceives
                                                                           11   consumers by failing to disclose that the Product contains cadmium and lead, placing
                                                                           12   consumers at risk of serious health conditions. Reasonable consumers have no way
                                                                           13   of knowing, nor do they have a reason to know or believe, that the Product poses
                                                                           14   threats to their health. Defendant’s failure to disclose this information is material
                                                                           15   because consumers would not purchase the Product if the lead and cadmium content
                                                                           16   in the Product was clearly disclosed.
                                                                           17         28. Consumers Reasonably Believe the Product is Safe for Consumption.
                                                                           18   Plaintiff and other reasonable consumers perceive and reasonably expect food
                                                                           19   products that are sold in the marketplace to be safe for human consumption. Plaintiff
                                                                           20   and other reasonable consumers were unaware of the lead and cadmium content of
                                                                           21   the Product and reasonably believed the Product to be safe for consumption.
                                                                           22   Defendant failed to inform consumers about the lead and cadmium contained in the
                                                                           23   Product, furthering consumer deception about the safeness of the Product.
                                                                           24   //
                                                                           25

                                                                           26   53
                                                                                   “Lead and Cadmium Could Be in Your Dark Chocolate” (Dec. 15, 2022),
                                                                           27   Consumer Reports, https://www.consumerreports.org/health/food-safety/lead-and-
                                                                                cadmium-in-dark-chocolate-a8480295550/.
                                                                           28   54
                                                                                   Id.
                                                                                                                          19
                                                                                                         CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 22 of 48 Page ID #:22




                                                                            1             29. The Product is Not Safe For Consumption. As outlined supra, lead and
                                                                            2   cadmium, at any concentration, pose serious health risks when consumed.
                                                                            3   Defendant’s Product contains 146% of the MADL for lead and 25% of the MADL
                                                                            4   for cadmium, per ounce. These concentrations of heavy metals pose serious health
                                                                            5   risks to consumers, even for those that ingest only one serving of the Product. Here,
                                                                            6   the Product is 3.1 oz with 2.5 servings per bar.
                                                                            7             30. Deception. Defendant’s failure to disclose material information
                                                                            8   regarding the inclusion of lead and cadmium in the Product is deceptive since it misled
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   consumers, including Plaintiff, to believe the Product is safe for consumption when it
                                                                           10   is not.
                                                                           11             31. Omission and Obligation to Disclose. As set forth herein, Defendant
                                                                           12   omits the presence of harmful heavy metals in its Product, leading consumers into
                                                                           13   purchasing the Product without knowing they are consuming dangerous heavy metals
                                                                           14   that they likely would not have otherwise willingly consumed. Defendant has an
                                                                           15   obligation to disclose the presence of heavy metals in its Product, because this
                                                                           16   information is material to consumers and Defendant knows or should know about the
                                                                           17   heavy metals contained in its Product.
                                                                           18             32. Material. Information about the presence of heavy metals in Defendant’s
                                                                           19   Product is material to reasonable consumers, including Plaintiff, because it has the
                                                                           20   potential to influence their decision to purchase the Product, as set forth herein.
                                                                           21   Plaintiff would not have purchased the Product had Defendant disclosed that the
                                                                           22   Product contains heavy metals.
                                                                           23             33. Reliance. Reasonable consumers, including Plaintiff, reasonably relied
                                                                           24   on the Product’s labeling, which failed to disclose that the Product contained heavy
                                                                           25   metals, in deciding to purchase the Product, as set forth herein.
                                                                           26             34. Falsity. The Product’s representation as dark chocolate safe for
                                                                           27   consumption is false and deceptive because the Product is not safe for consumption—
                                                                           28   meaning the Product contains harmful heavy metals which cause severe health issues
                                                                                                                           20
                                                                                                            CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 23 of 48 Page ID #:23




                                                                            1   to consumers.
                                                                            2         35. Consumers Lack Knowledge of Deception/Fraudulence. Consumers,
                                                                            3   including Plaintiff, who purchased the Product, did not know, and had no reason to
                                                                            4   know, at the time of purchase, that the Product contained heavy metals.
                                                                            5         36. Defendant’s Knowledge. Defendant knew, or should have known, that
                                                                            6   its Product contains lead and cadmium, and its failure to inform consumers about
                                                                            7   those heavy metals in its Product was misleading and unlawful. Defendant
                                                                            8   intentionally and deliberately omitted this information to cause Plaintiff and similarly
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   situated consumers to purchase the Product. Defendant, as the manufacturer, had
                                                                           10   exclusive control over how the Product was marketed and labeled, and Defendant
                                                                           11   readily and easily could have remedied the deception by disclosing to consumers that
                                                                           12   its Product contains lead and cadmium. Defendant is and was, at all times, required
                                                                           13   to ensure its Product was safe for consumption, when selling the Product anywhere
                                                                           14   in the United States. Thus, Defendant knew, or should have known, at all relevant
                                                                           15   times, that the Product’s labels were deceptive, and reasonable consumers like
                                                                           16   Plaintiff were being misled into buying the Product because they lacked Defendant’s
                                                                           17   knowledge about the heavy metals contained in the Product.
                                                                           18         37. Detriment. Plaintiff and similarly situated consumers would not have
                                                                           19   purchased the Product if they had known the Product contains harmful metals and,
                                                                           20   therefore, the Product was not safe for consumption as claimed, promised, warranted,
                                                                           21   advertised, and represented. Accordingly, based on Defendant’s material omissions,
                                                                           22   reasonable consumers, including Plaintiff, purchased the Product to their detriment.
                                                                           23        C.     No Adequate Remedy at Law
                                                                           24         38. No Adequate Remedy at Law. Plaintiff and members of the Class are
                                                                           25   entitled to equitable relief as no adequate remedy at law exists.
                                                                           26               a. Broader Statutes of Limitations. The statutes of limitations
                                                                           27                   for the causes of action pled herein vary. The limitations
                                                                           28                   period is four years for claims brought under the UCL, which
                                                                                                                           21
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 24 of 48 Page ID #:24




                                                                            1                is one year longer than the statutes of limitations under the
                                                                            2                FAL and CLRA. In addition, the statutes of limitations vary
                                                                            3                for certain states’ laws for breach of warranty and unjust
                                                                            4                enrichment/restitution, between approximately 2 and 6 years.
                                                                            5                Thus, California Subclass members who purchased the
                                                                            6                Product more than 3 years prior to the filing of the complaint
                                                                            7                will be barred from recovery if equitable relief were not
                                                                            8                permitted under the UCL.        Similarly, Nationwide Class
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9                members who purchased the Product prior to the furthest
                                                                           10                reach-back under the statute of limitations for breach of
                                                                           11                warranty, will be barred from recovery if equitable relief were
                                                                           12                not permitted for restitution/unjust enrichment.
                                                                           13             b. Broader Scope of Conduct. In addition, the scope of
                                                                           14                actionable misconduct under the unfair prong of the UCL is
                                                                           15                broader than the other causes of action asserted herein. It
                                                                           16                includes, for example, Defendant’s overall unfair material
                                                                           17                omission about the lead and cadmium contained in its
                                                                           18                Product, in order to gain an unfair advantage over competitor
                                                                           19                products and to take advantage of consumers’ desire for
                                                                           20                products that comport with the required disclosures. The UCL
                                                                           21                also creates a cause of action for violations of law (such as
                                                                           22                statutory or regulatory requirements and court orders related
                                                                           23                to similar representations and omissions made on the type of
                                                                           24                product at issue). Thus, Plaintiff and Class members may be
                                                                           25                entitled to restitution under the UCL, while not entitled to
                                                                           26                damages under other causes of action asserted herein (e.g., the
                                                                           27                FAL requires actual or constructive knowledge of the falsity;
                                                                           28                the CLRA is limited to certain types of plaintiffs (an
                                                                                                                        22
                                                                                                       CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 25 of 48 Page ID #:25




                                                                            1                individual who seeks or acquires, by purchase or lease, any
                                                                            2                goods or services for personal, family, or household
                                                                            3                purposes) and other statutorily enumerated conduct).
                                                                            4                Similarly, unjust enrichment/restitution is broader than
                                                                            5                breach of warranty. For example, in some states, breach of
                                                                            6                warranty may require privity of contract or pre-lawsuit notice,
                                                                            7                which are not typically required to establish unjust
                                                                            8                enrichment/restitution. Thus, Plaintiff and Class members
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9                may     be     entitled    to     recover     under     unjust
                                                                           10                enrichment/restitution, while not entitled to damages under
                                                                           11                breach of warranty, because they purchased the product from
                                                                           12                third-party retailers or did not provide adequate notice of a
                                                                           13                breach prior to the commencement of this action.
                                                                           14             c. Injunctive Relief to Cease Misconduct and Dispel
                                                                           15                Misperception. Injunctive relief is appropriate on behalf of
                                                                           16                Plaintiff and members of the Class because Defendant
                                                                           17                continues to sell the Product without disclosing that the
                                                                           18                Product contains harmful heavy metals. Injunctive relief is
                                                                           19                necessary to prevent Defendant from continuing to engage in
                                                                           20                the unfair, fraudulent, and/or unlawful conduct described
                                                                           21                herein and to prevent future harm—none of which can be
                                                                           22                achieved through available legal remedies (such as monetary
                                                                           23                damages to compensate past harm). Further, injunctive relief,
                                                                           24                in the form of affirmative disclosures, is necessary to dispel
                                                                           25                the public misperception about the Product that has resulted
                                                                           26                from years of Defendant’s unfair, fraudulent, and unlawful
                                                                           27                marketing efforts. Such disclosures would include, but are
                                                                           28                not limited to, publicly disseminated statements providing
                                                                                                                        23
                                                                                                       CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 26 of 48 Page ID #:26




                                                                            1                accurate information about the Product’s true nature; and/or
                                                                            2                requiring prominent qualifications and/or disclaimers on the
                                                                            3                Product’s front label concerning the Product’s true nature. An
                                                                            4                injunction requiring affirmative disclosures to dispel the
                                                                            5                public’s misperception and prevent the ongoing deception
                                                                            6                and repeat purchases based thereon, is also not available
                                                                            7                through a legal remedy (such as monetary damages). In
                                                                            8                addition, Plaintiff is currently unable to accurately quantify
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9                the damages caused by Defendant’s future harm, because
                                                                           10                discovery and Plaintiff’s investigation have not yet
                                                                           11                completed, rendering injunctive relief all the more necessary.
                                                                           12                For example, because the court has not yet certified any class,
                                                                           13                the following remains unknown: the scope of the class, the
                                                                           14                identities of its members, their respective purchasing
                                                                           15                practices, prices of past/future Product sales, and quantities of
                                                                           16                past/future Product sales.
                                                                           17             d. Public Injunction. Further, because a “public injunction” is
                                                                           18                available under the UCL, damages will not adequately
                                                                           19                “benefit the general public” in a manner equivalent to an
                                                                           20                injunction.
                                                                           21             e. California vs. Nationwide Class Claims. Violations of the
                                                                           22                UCL, FAL, and CLRA are claims asserted on behalf of
                                                                           23                Plaintiff and the California Subclass against Defendant, while
                                                                           24                breach of warranty, unjust enrichment/restitution, and
                                                                           25                negligent failure to warn are asserted on behalf of Plaintiff
                                                                           26                and the Nationwide Class. Dismissal of farther-reaching
                                                                           27                claims, such as restitution, would bar recovery for non-
                                                                           28                California members of the Class. In other words, legal
                                                                                                                          24
                                                                                                        CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 27 of 48 Page ID #:27




                                                                            1                  remedies available or adequate under the California-specific
                                                                            2                  causes of action (such as the UCL, FAL, and CLRA) have no
                                                                            3                  impact on this Court’s jurisdiction to award equitable relief
                                                                            4                  under the remaining causes of action asserted on behalf of
                                                                            5                  non-California putative class members.
                                                                            6              f. Procedural Posture—Incomplete Discovery & Pre-
                                                                            7                  Certification. Lastly, this is an initial pleading in this action,
                                                                            8                  and discovery has not yet commenced and/or is at its initial
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9                  stages. No class has been certified yet. No expert discovery
                                                                           10                  has commenced and/or completed. The completion of
                                                                           11                  fact/non-expert and expert discovery, as well as the
                                                                           12                  certification of this case as a class action, are necessary to
                                                                           13                  finalize and determine the adequacy and availability of all
                                                                           14                  remedies, including legal and equitable, for Plaintiff’s
                                                                           15                  individual claims and any certified class or subclass. Plaintiff
                                                                           16                  therefore reserves her right to amend this complaint and/or
                                                                           17                  assert additional facts that demonstrate this Court’s
                                                                           18                  jurisdiction to order equitable remedies where no adequate
                                                                           19                  legal remedies are available for either Plaintiff and/or any
                                                                           20                  certified class or subclass. Such proof, to the extent necessary,
                                                                           21                  will be presented prior to the trial of any equitable claims for
                                                                           22                  relief and/or the entry of an order granting equitable relief.
                                                                           23                           CLASS ACTION ALLEGATIONS
                                                                           24         39. Class Definition. Plaintiff brings this class action pursuant to Federal
                                                                           25   Rules of Civil Procedure 23(b)(2) and 23(b)(3) on behalf of herself and all others
                                                                           26   similarly situated, and as members of the Classes defined as follows:
                                                                           27              All residents of the United States who, within the applicable
                                                                                           statute of limitations, purchased the Product(s) for purposes other
                                                                           28              than resale (“Nationwide Class”); and
                                                                                                                           25
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 28 of 48 Page ID #:28




                                                                            1               All residents of California who, within four years prior to the
                                                                                            filing of this Complaint, purchased the Product(s) for purposes
                                                                            2               other than resale (“California Subclass”).
                                                                            3               (“Nationwide Class” and “California Subclass,” collectively, “Class”).
                                                                            4         40. Class Definition Exclusions. Excluded from the Class are: (i) Defendant,
                                                                            5   its assigns, successors, and legal representatives; (ii) any entities in which Defendant
                                                                            6   has controlling interests; (iii) federal, state, and/or local governments, including, but
                                                                            7   not limited to, their departments, agencies, divisions, bureaus, boards, sections,
                                                                            8   groups, counsels, and/or subdivisions; and (iv) any judicial officer presiding over this
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   matter and person within the third degree of consanguinity to such judicial officer.
                                                                           10         41. Reservation of Rights to Amend the Class Definition. Plaintiff reserves
                                                                           11   the right to amend or otherwise alter the class definition presented to the Court at the
                                                                           12   appropriate time in response to facts learned through discovery, legal arguments
                                                                           13   advanced by Defendant, or otherwise.
                                                                           14         42. Numerosity: Members of the Class are so numerous that joinder of all
                                                                           15   members is impracticable. Upon information and belief, the Nationwide Class
                                                                           16   consists of tens of thousands of purchasers (if not more) dispersed throughout the
                                                                           17   United States, and the California Subclass likewise consists of thousands of
                                                                           18   purchasers (if not more) dispersed throughout the state of California. Accordingly, it
                                                                           19   would be impracticable to join all members of the Class before the Court.
                                                                           20         43. Common Questions Predominate: There are numerous and substantial
                                                                           21   questions of law or fact common to all members of the Class that predominate over
                                                                           22   any individual issues. Included within the common questions of law or fact are:
                                                                           23               a. Whether Defendant engaged in unlawful, unfair or deceptive
                                                                           24                  business practices by advertising and selling the Product;
                                                                           25               b. Whether Defendant’s conduct of advertising and selling the
                                                                           26                  Product while omitting that it contains harmful heavy metals
                                                                           27                  constitutes an unfair method of competition, or unfair or
                                                                           28
                                                                                                                           26
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 29 of 48 Page ID #:29




                                                                            1                deceptive act or practice, in violation of Civil Code section
                                                                            2                1750, et seq.;
                                                                            3             c. Whether Defendant used deceptive omissions in connection
                                                                            4                with the sale of the Product in violation of Civil Code section
                                                                            5                1750, et seq.;
                                                                            6             d. Whether Defendant represented that the Product has
                                                                            7                characteristics or quantities that they do not have in violation
                                                                            8                of Civil Code section 1750, et seq.;
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9             e. Whether Defendant advertised the Product with intent not to
                                                                           10                sell them as advertised in violation of Civil Code section
                                                                           11                1750, et seq.;
                                                                           12             f. Whether Defendant’s labeling and advertising of the Product
                                                                           13                is misleading in violation of Business and Professions Code
                                                                           14                section 17500, et seq.;
                                                                           15             g. Whether Defendant knew or by the exercise of reasonable
                                                                           16                care should have known its labeling and advertising was and
                                                                           17                is misleading in violation of Business and Professions Code
                                                                           18                section 17500, et seq.;
                                                                           19             h. Whether Defendant’s conduct is an unfair business practice
                                                                           20                within the meaning of Business and Professions Code section
                                                                           21                17200, et seq.;
                                                                           22             i. Whether Defendant’s conduct is a fraudulent business
                                                                           23                practice within the meaning of Business and Professions
                                                                           24                Code section 17200, et seq.;
                                                                           25             j. Whether Defendant’s conduct is an unlawful business
                                                                           26                practice within the meaning of Business and Professions
                                                                           27                Code section 17200, et seq.;
                                                                           28             k. Whether Defendant’s conduct constitutes breach of warranty;
                                                                                                                        27
                                                                                                       CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 30 of 48 Page ID #:30




                                                                            1               l. Whether Defendant was negligent in its failure to warn
                                                                            2                  consumers about the heavy metals contained in the Product;
                                                                            3               m. Whether Plaintiff and the Class are entitled to injunctive
                                                                            4                  relief; and
                                                                            5               n. Whether Defendant was unjustly enriched by its unlawful conduct.
                                                                            6         44. Typicality: Plaintiff’s claims are typical of the claims of the Class
                                                                            7   Members she seeks to represent because Plaintiff, like the Class Members purchased
                                                                            8   Defendant’s misleading and deceptive Product. Defendant’s unlawful, unfair and/or
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   fraudulent actions concern the same business practices described herein irrespective
                                                                           10   of where they occurred or were experienced. Plaintiff and the Class sustained similar
                                                                           11   injuries arising out of Defendant’s conduct. Plaintiff’s and Class Members’ claims
                                                                           12   arise from the same practices and course of conduct and are based on the same legal
                                                                           13   theories.
                                                                           14         45. Adequacy: Plaintiff is an adequate representative of the Class she seeks
                                                                           15   to represent because her interests do not conflict with the interests of the Class
                                                                           16   Members Plaintiff seeks to represent. Plaintiff will fairly and adequately protect Class
                                                                           17   Members’ interests and has retained counsel experienced and competent in the
                                                                           18   prosecution of complex class actions, including complex questions that arise in
                                                                           19   consumer protection litigation.
                                                                           20         46. Superiority and Substantial Benefit: A class action is superior to other
                                                                           21   methods for the fair and efficient adjudication of this controversy, since individual
                                                                           22   joinder of all members of the Class is impracticable and no other group method of
                                                                           23   adjudication of all claims asserted herein is more efficient and manageable for at least
                                                                           24   the following reasons:
                                                                           25               a. The claims presented in this case predominate over any
                                                                           26                  questions of law or fact, if any exist at all, affecting any
                                                                           27                  individual member of the Class;
                                                                           28
                                                                                                                           28
                                                                                                             CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 31 of 48 Page ID #:31




                                                                            1               b. Absent a Class, the members of the Class will continue to
                                                                            2                  suffer damage and Defendant’s unlawful conduct will
                                                                            3                  continue without remedy while Defendant profits from and
                                                                            4                  enjoy its ill-gotten gains;
                                                                            5               c. Given the size of individual Class Members’ claims, few, if
                                                                            6                  any, Class Members could afford to or would seek legal
                                                                            7                  redress individually for the wrongs Defendant committed
                                                                            8                  against them, and absent Class Members have no substantial
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9                  interest in individually controlling the prosecution of
                                                                           10                  individual actions;
                                                                           11               d. When the liability of Defendant has been adjudicated, claims
                                                                           12                  of all members of the Class can be administered efficiently
                                                                           13                  and/or determined uniformly by the Court; and
                                                                           14               e. This action presents no difficulty that would impede its
                                                                           15                  management by the Court as a class action, which is the best
                                                                           16                  available means by which Plaintiff and Class Members can
                                                                           17                  seek redress for the harm caused to them by Defendant.
                                                                           18         47. Inconsistent Rulings. Because Plaintiff seeks relief for all members of
                                                                           19   the Class, the prosecution of separate actions by individual members would create a
                                                                           20   risk of inconsistent or varying adjudications with respect to individual members of
                                                                           21   the Class, which would establish incompatible standards of conduct for Defendant.
                                                                           22         48. Injunctive/Equitable Relief. The prerequisites to maintaining a class
                                                                           23   action for injunctive or equitable relief pursuant to Fed. R. Civ. P. 23(b)(2) are met as
                                                                           24   Defendant has acted or refused to act on grounds generally applicable to the Class,
                                                                           25   thereby making appropriate final injunctive or equitable relief with respect to the
                                                                           26   Class as a whole.
                                                                           27   //
                                                                           28   //
                                                                                                                             29
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 32 of 48 Page ID #:32




                                                                            1         49. Manageability. Plaintiff and Plaintiff’s counsel are unaware of any
                                                                            2   difficulties that are likely to be encountered in the management of this action that
                                                                            3   would preclude its maintenance as a class action.
                                                                            4                                  CAUSES OF ACTION
                                                                            5                                       COUNT ONE
                                                                            6                    Violation of California Unfair Competition Law
                                                                            7                        (Cal. Bus. & Prof. Code §§ 17200, et seq.)
                                                                            8                          (On Behalf of the California Subclass)
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9         50. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                           10   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                           11         51. California Subclass. This cause of action is brought pursuant to Business
                                                                           12   and Professions Code Section 17200, et seq., on behalf of Plaintiff and a California
                                                                           13   Subclass who purchased the Product within the applicable statute of limitations.
                                                                           14         52. The UCL. California Business & Professions Code, sections 17200, et
                                                                           15   seq. (the “UCL”) prohibits unfair competition and provides, in pertinent part, that
                                                                           16   “unfair competition shall mean and include unlawful, unfair or fraudulent business
                                                                           17   practices and unfair, deceptive, untrue or misleading advertising.”
                                                                           18         53. False Advertising Claims. Defendant, in its advertising, labeling, and
                                                                           19   packaging of the Product, made fraudulent omissions regarding the quality and
                                                                           20   characteristics of the Product—specifically, Defendant failed to inform consumers
                                                                           21   that its Product contains heavy metals lead and cadmium.
                                                                           22         54. Defendant’s Deliberately Fraudulent Marketing Scheme. Defendant
                                                                           23   does not have any reasonable basis for failing to inform consumers about the
                                                                           24   dangerous heavy metals in its Product because the consumption of the Product may
                                                                           25   result in various health issues in adults and children. Defendant knew and continues
                                                                           26   to know that the Product is not safe for consumption, though Defendant intentionally
                                                                           27   advertised and marketed the Product to deceive reasonable consumers into believing
                                                                           28   that it is safe for consumption when it is not.
                                                                                                                           30
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 33 of 48 Page ID #:33




                                                                            1         55. Misleading Advertising and Omission Cause Purchase of Product.
                                                                            2   Defendant’s labeling and advertising of the Product led to, and continues to lead to,
                                                                            3   reasonable consumers, including Plaintiff, believing that the Product is truly safe for
                                                                            4   consumption as there is no disclaimer or indication that the Product contains harmful
                                                                            5   heavy metals.
                                                                            6         56. Injury in Fact. Plaintiff and the California Subclass have suffered injury
                                                                            7   in fact and have lost money or property as a result of and in reliance upon Defendant’s
                                                                            8   false advertising and material omission—namely Plaintiff and the California Subclass
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   lost the money they paid for the Product.
                                                                           10         57. Conduct Violates the UCL. Defendant’s conduct, as alleged herein,
                                                                           11   constitutes unfair, unlawful, and fraudulent business practices pursuant to the UCL.
                                                                           12   The UCL prohibits unfair competition and provides, in pertinent part, that “unfair
                                                                           13   competition shall mean and include unlawful, unfair or fraudulent business practices
                                                                           14   and unfair, deceptive, untrue or misleading advertising.” Cal. Bus & Prof. Code §
                                                                           15   17200. In addition, Defendant’s use of various forms of advertising media to
                                                                           16   advertise, call attention to, or give publicity to the sale of goods or merchandise that
                                                                           17   are not as represented in any manner constitutes unfair competition, unfair, deceptive,
                                                                           18   untrue or misleading advertising, and an unlawful business practice within the
                                                                           19   meaning of Business and Professions Code Sections 17200 and 17531, which
                                                                           20   advertisements have deceived and are likely to deceive the consuming public, in
                                                                           21   violation of Business and Professions Code Section 17200.
                                                                           22         58. No Reasonably Available Alternatives/Legitimate Business Interests.
                                                                           23   Defendant failed to avail itself of reasonably available, lawful alternatives to further
                                                                           24   its legitimate business interests.
                                                                           25         59. Business Practice. All of the conduct alleged herein occurred and
                                                                           26   continues to occur in Defendant’s business. Defendant’s wrongful conduct is part of
                                                                           27   a pattern, practice and/or generalized course of conduct, which will continue daily
                                                                           28   until Defendant voluntarily alters its conduct or Defendant is otherwise ordered to do
                                                                                                                            31
                                                                                                           CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 34 of 48 Page ID #:34




                                                                            1   so.
                                                                            2             60. Injunction. Pursuant to Business and Professions Code Sections 17203
                                                                            3   and 17535, Plaintiff and the California Subclass seek an order from this Court
                                                                            4   enjoining Defendant from continuing to engage, use, or employ its practice of
                                                                            5   omitting material information regarding the heavy metal content of its Product.
                                                                            6   Plaintiff and the members of the California Subclass also seek an order requiring
                                                                            7   Defendant to disclose such information, and/or to precluding Defendant from selling
                                                                            8   the Product.
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9             61. Causation/Restitution. As a direct and proximate result of Defendant’s
                                                                           10   misconduct in violation of the UCL, Plaintiff and the California Subclass were
                                                                           11   harmed in the amount of the purchase price they paid for the Product. Plaintiff and
                                                                           12   the California Subclass have suffered and continue to suffer economic losses and
                                                                           13   other damages including, but not limited to, the amounts paid for the Product, and any
                                                                           14   interest that would have accrued on those monies, in an amount to be proven at trial.
                                                                           15   Accordingly, Plaintiff seeks restitution, and/or disgorgement of ill-gotten gains to
                                                                           16   compensate Plaintiff and the California Subclass for said monies, as well as injunctive
                                                                           17   relief to enjoin Defendant’s misconduct to prevent ongoing and future harm that will
                                                                           18   result.
                                                                           19                                       “Unfair” Prong
                                                                           20             62. Unfair Standard. Under the UCL, a challenged activity is “unfair” when
                                                                           21   “any injury it causes outweighs any benefits provided to consumers and the injury is
                                                                           22   one that the consumers themselves could not reasonably avoid.” Camacho v. Auto
                                                                           23   Club of Southern California, 142 Cal. App. 4th 1394, 1403 (2006).
                                                                           24             63. Injury. Defendant’s action of omitting material information does not
                                                                           25   confer any benefit to consumers; rather, doing so causes injuries to consumers, who
                                                                           26   do not receive Product commensurate with their reasonable expectations, receive
                                                                           27   Product of lesser standards than what they reasonably expected to receive, and are
                                                                           28   exposed to increased health risks. Consumers cannot avoid any of the injuries caused
                                                                                                                           32
                                                                                                            CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 35 of 48 Page ID #:35




                                                                            1   by Defendant’s deceptive labeling and omissions of the Product. The injuries caused
                                                                            2   by Defendant’s deceptive labeling and advertising outweigh any benefits.
                                                                            3         64. Balancing Test. Some courts conduct a balancing test to decide if a
                                                                            4   challenged activity amounts to unfair conduct under California Business and
                                                                            5   Professions Code Section 17200. They “weigh the utility of the defendant’s conduct
                                                                            6   against the gravity of the harm to the alleged victim.” Davis v. HSBC Bank Nevada,
                                                                            7   N.A., 691 F.3d 1152, 1169 (9th Cir. 2012).
                                                                            8         65. No Utility. Defendant’s conduct of omitting material information has no
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   utility and rather harms purchasers. Thus, the utility of Defendant’s conduct is vastly
                                                                           10   outweighed by the gravity of harm.
                                                                           11         66. Legislative Declared Policy. Some courts require that “unfairness must
                                                                           12   be tethered to some legislative declared policy or proof of some actual or threatened
                                                                           13   impact on competition.” Lozano v. AT&T Wireless Servs. Inc., 504 F. 3d 718, 735
                                                                           14   (9th Cir. 2007).
                                                                           15         67. Unfair Conduct. Defendant’s labeling and advertising of the Product, as
                                                                           16   alleged herein, is deceptive, misleading, and unreasonable, and constitutes unfair
                                                                           17   conduct. Defendant knew or should have known of its unfair conduct. Defendant’s
                                                                           18   omissions constitute an unfair business practice within the meaning of California
                                                                           19   Business and Professions Code Section 17200.
                                                                           20         68. Reasonably Available Alternatives. There existed reasonably available
                                                                           21   alternatives to further Defendant’s legitimate business interests, other than the
                                                                           22   conduct described herein. Defendant could have disclosed that its Product contains
                                                                           23   heavy metals or it could have removed the heavy metals from the Product.
                                                                           24         69. Defendant’s Wrongful Conduct. All the conduct alleged herein occurs
                                                                           25   and continues to occur in Defendant’s business. Defendant’s wrongful conduct is part
                                                                           26   of a pattern or generalized course of conduct repeated on thousands of occasions daily.
                                                                           27         70. Injunction. Pursuant to Business and Professions Code Sections 17203,
                                                                           28   Plaintiff and the California Subclass seek an order of this Court enjoining Defendant
                                                                                                                          33
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 36 of 48 Page ID #:36




                                                                            1   from continuing to engage, use, or employ its practice of omitting material
                                                                            2   information regarding the heavy metal content of its Product.
                                                                            3         71. Causation/Restitution. Plaintiff and the California Subclass have
                                                                            4   suffered injury in fact, have lost money, and were exposed to increased health risks
                                                                            5   as a result of Defendant’s unfair conduct. Plaintiff and the California Subclass paid
                                                                            6   for Product that were supposedly safe for consumption when they were not. Plaintiff
                                                                            7   and the California Subclass would not have purchased the Product if they had known
                                                                            8   that the Product’s advertising and labeling was deceptive. Accordingly, Plaintiff seeks
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   restitution and/or disgorgement of ill-gotten gains pursuant to the UCL.
                                                                           10                                     “Fraudulent” Prong
                                                                           11         72. Fraud Standard. The UCL considers conduct fraudulent (and prohibits
                                                                           12   said conduct) if it is likely to deceive members of the public. Bank of the West v.
                                                                           13   Superior Court, 2 Cal. 4th 1254, 1267 (1992).
                                                                           14         73. Fraudulent & Material Omission. Defendant sold the Product by
                                                                           15   omitting material information relating to the heavy metals contained in them. These
                                                                           16   omissions were deceptive, and Defendant knew or should have known of its
                                                                           17   deception. The omissions are likely to mislead consumers into purchasing the Product
                                                                           18   because they are material to the average, ordinary, and reasonable consumer.
                                                                           19         74. Fraudulent Business Practice. As alleged herein, the omissions by
                                                                           20   Defendant constitute a fraudulent business practice in violation of California Business
                                                                           21   & Professions Code Section 17200.
                                                                           22         75. Reasonable and Detrimental Reliance. Plaintiff and the California
                                                                           23   Subclass reasonably and detrimentally relied on the labeling on the Product to their
                                                                           24   detriment in that they purchased the Product without knowing the dangers of
                                                                           25   consuming the Product.
                                                                           26         76. Reasonably Available Alternatives. Defendant had reasonably
                                                                           27   available alternatives to further its legitimate business interests, other than the conduct
                                                                           28   described herein. Defendant could have refrained from selling the Product, or it could
                                                                                                                            34
                                                                                                           CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 37 of 48 Page ID #:37




                                                                            1   have disclosed the heavy metal content in the Product, or implemented measures to
                                                                            2   prevent harmful heavy metals in its Product.
                                                                            3         77. Business Practice. All of the conduct alleged herein occurs and continues
                                                                            4   to occur in Defendant’s business. Defendant’s wrongful conduct is part of a pattern
                                                                            5   or generalized course of conduct.
                                                                            6         78. Injunction. Pursuant to Business and Professions Code Sections 17203,
                                                                            7   Plaintiff and the California Subclass seek an order of this Court enjoining Defendant
                                                                            8   from continuing to engage, use, or employ its practice of omitting material
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   information regarding the heavy metal content of its Product.
                                                                           10         79. Causation/Restitution. Plaintiff and the California Subclass have
                                                                           11   suffered injury in fact and have lost money as a result of Defendant’s fraudulent
                                                                           12   conduct. Plaintiff and the California Subclass paid for product that they believed
                                                                           13   would be safe for consumption, when, in fact, the Product contains harmful heavy
                                                                           14   metals. Plaintiff and the California Subclass would not have purchased the Product if
                                                                           15   they had known the truth. Accordingly, Plaintiff seeks restitution and/or disgorgement
                                                                           16   of ill-gotten gains pursuant to the UCL.
                                                                           17                                    “Unlawful” Prong
                                                                           18         80. Unlawful Standard. The UCL identifies violations of other laws as
                                                                           19   “unlawful practices that the unfair competition law makes independently actionable.”
                                                                           20   Velazquez v. GMAC Mortg. Corp., 605 F. Supp. 2d 1049, 1068 (C.D. Cal. 2008).
                                                                           21         81. Violations of CLRA and FAL. Defendant’s labeling of the Product, as
                                                                           22   alleged herein, violates California Civil Code sections 1750, et seq. and California
                                                                           23   Business and Professions Code sections 17500, et seq. as set forth below in the
                                                                           24   sections regarding those causes of action.
                                                                           25         82. Additional Violations. Defendant’s conduct in making the deceptive
                                                                           26   omissions described herein constitutes a knowing failure to adopt policies in
                                                                           27   accordance with and/or adherence to applicable laws, as set forth herein, all of which
                                                                           28   are binding upon and burdensome to their competitors. This conduct engenders an
                                                                                                                             35
                                                                                                         CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 38 of 48 Page ID #:38




                                                                            1   unfair competitive advantage for Defendant, thereby constituting an unfair, fraudulent
                                                                            2   and/or unlawful business practice under California Business & Professions Code
                                                                            3   sections 17200-17208. Additionally, Defendant’s omission of material facts, as set
                                                                            4   forth herein, violate California Civil Code sections 1572, 1573, 1709, 1710, and 1711
                                                                            5   , as well as the common law.
                                                                            6         83. Unlawful Conduct. Defendant’s packaging, labeling, and advertising of
                                                                            7   the Product, as alleged herein, are deceptive, misleading, and unreasonable, and
                                                                            8   constitute unlawful conduct. Defendant knew or should have known of its unlawful
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   conduct.
                                                                           10         84. Reasonably Available Alternatives. Defendant had reasonably
                                                                           11   available alternatives to further its legitimate business interests, other than the conduct
                                                                           12   described herein. Defendant could have refrained from selling the Product, or it could
                                                                           13   have disclosed the heavy metal content in the Product, or implemented measures to
                                                                           14   prevent harmful heavy metals in its Product.
                                                                           15         85. Business Practice. All the conduct alleged herein occurs and continues
                                                                           16   to occur in Defendant’s business. Defendant’s wrongful conduct is part of a pattern
                                                                           17   or generalized course of conduct.
                                                                           18         86. Injunction. Pursuant to Business and Professions Code Section 17203,
                                                                           19   Plaintiff and the California Subclass seek an order from this Court enjoining
                                                                           20   Defendant from continuing to engage, use, or employ its practice of omitting material
                                                                           21   information regarding the heavy metal content of its Product.
                                                                           22         87. Causation/Restitution. Plaintiff and the California Subclass have
                                                                           23   suffered injury in fact and have lost money as a result of Defendant’s unlawful
                                                                           24   conduct. Plaintiff and the California Subclass paid an unwarranted premium for the
                                                                           25   Product. Plaintiff and the California Subclass would not have purchased the Product
                                                                           26   if they had known that Defendant purposely deceived consumers into believing that
                                                                           27   the Product is safe for consumption. Accordingly, Plaintiff seeks restitution and/or
                                                                           28   disgorgement of ill-gotten gains pursuant to the UCL.
                                                                                                                            36
                                                                                                           CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 39 of 48 Page ID #:39




                                                                            1                                        COUNT TWO
                                                                            2                      Violation of California False Advertising Law
                                                                            3                         (Cal. Bus. & Prof. Code §§ 17500, et seq.)
                                                                            4                             (On Behalf of the California Subclass)
                                                                            5         88. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                            6   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                            7         89. California Subclass. Plaintiff brings this claim individually and on
                                                                            8   behalf of the California Subclass who purchased the Product within the applicable
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   statute of limitations.
                                                                           10         90. FAL Standard. The False Advertising Law, codified at Cal. Bus. & Prof.
                                                                           11   Code section 17500, et seq., prohibits “unfair, deceptive, untrue or misleading
                                                                           12   advertising[.]”
                                                                           13         91. Material Omission Disseminated to Public. Defendant violated section
                                                                           14   17500 when it sold the Product to the public without disclosing the heavy metals
                                                                           15   contained in them. This conduct was deceptive because the Product’s labeling omits
                                                                           16   material information regarding the heavy metal content of its Product. The omissions
                                                                           17   were material because they are likely to mislead a reasonable consumer into
                                                                           18   purchasing the Product.
                                                                           19         92. Knowledge. Defendant knew or should have known that its failure to
                                                                           20   disclose information relating to the heavy metals contained in its Product was
                                                                           21   misleading and in violation of § 17500.
                                                                           22         93. Intent to sell. Defendant’s conduct was specifically designed to induce
                                                                           23   reasonable consumers, like Plaintiff and the California Subclass, to purchase the
                                                                           24   Product.
                                                                           25         94. Causation/Damages. As a direct and proximate result of Defendant’s
                                                                           26   misconduct in violation of the FAL, Plaintiff and members of the California Subclass
                                                                           27   were harmed in the amount of the purchase price they paid for the Product and
                                                                           28   increased health risks from consuming the heavy metals in the Product. Further,
                                                                                                                            37
                                                                                                            CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 40 of 48 Page ID #:40




                                                                            1   Plaintiff and members of the Class have suffered and continue to suffer economic
                                                                            2   losses and other damages including, but not limited to, the amounts paid for the
                                                                            3   Product, and any interest that would have accrued on those monies, in an amount to
                                                                            4   be proven at trial. Accordingly, Plaintiff seeks a monetary award for violation of the
                                                                            5   FAL in damages, restitution, and/or disgorgement of ill-gotten gains to compensate
                                                                            6   Plaintiff and the California Subclass for said monies, as well as injunctive relief to
                                                                            7   enjoin Defendant’s misconduct to prevent ongoing and future harm that will result.
                                                                            8                                       COUNT THREE
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9                 Violation of California Consumers Legal Remedies Act
                                                                           10                               (Cal. Civ. Code §§ 1750, et seq.)
                                                                           11                             (On Behalf of the California Subclass)
                                                                           12         95. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                           13   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                           14         96. California Subclass. Plaintiff brings this claim individually and on
                                                                           15   behalf of the California Subclass who purchased the Product within the applicable
                                                                           16   statute of limitations.
                                                                           17         97. CLRA Standard. The CLRA provides that “unfair methods of
                                                                           18   competition and unfair or deceptive acts or practices undertaken by any person in a
                                                                           19   transaction intended to result or which results in the sale or lease of goods or services
                                                                           20   to any consumer are unlawful.”
                                                                           21         98. Goods/Services. The Product(s) are “goods,” as defined by the CLRA in
                                                                           22   California Civil Code §1761(a).
                                                                           23         99. Defendant. Defendant is a “person,” as defined by the CLRA in
                                                                           24   California Civil Code §1761(c).
                                                                           25         100. Consumers. Plaintiff and members of the California Subclass are
                                                                           26   “consumers,” as defined by the CLRA in California Civil Code §1761(d).
                                                                           27         101. Transactions. The purchase of the Product by Plaintiff and members of
                                                                           28   the California Subclass are “transactions” as defined by the CLRA under California
                                                                                                                            38
                                                                                                            CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 41 of 48 Page ID #:41




                                                                            1   Civil Code section 1761(e).
                                                                            2         102. Violations of the CLRA. Defendant violated the following sections of
                                                                            3   the CLRA by selling the Product to Plaintiff and the California Subclass without
                                                                            4   disclosing that the Product contain lead and cadmium:
                                                                            5           a. Section 1770(a)(5) by representing that the Product has
                                                                                           “characteristics, . . . uses [or] benefits . . . which [they] do not
                                                                            6              have.”
                                                                            7           b. Section 1770(a)(7) by representing that the Product “[is] of a
                                                                                           particular standard, quality, or grade . . . [when it is] of another.”
                                                                            8
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                                        c. Section 1770(a)(9) by advertising the Product “with [the] intent
                                                                            9              not to sell [it] as advertised.”
                                                                           10         103. Knowledge. Defendant’s uniform and material omissions regarding the
                                                                           11   Product was likely to deceive, and Defendant knew or should have known that its
                                                                           12   omissions were misleading.
                                                                           13         104. Malicious. Defendant’s conduct is malicious, fraudulent, and wanton in
                                                                           14   that Defendant intentionally misled and withheld material information from
                                                                           15   consumers, including Plaintiff, to increase the sales of the Product.
                                                                           16         105. Plaintiff Could Not Have Avoided Injury. Plaintiff and members of the
                                                                           17   California Subclass could not have reasonably avoided such injury. Plaintiff and
                                                                           18   members of the California Subclass were unaware of the existence of the facts that
                                                                           19   Defendant suppressed and failed to disclose, and Plaintiff and members of the
                                                                           20   California Subclass would not have purchased the Product and/or would have
                                                                           21   purchased it on different terms had they known the truth.
                                                                           22         106. Causation/Reliance/Materiality. Plaintiff and the California Subclass
                                                                           23   suffered harm as a result of Defendant’s violations of the CLRA because they
                                                                           24   purchased the Product without knowing it contained heavy metals. Defendant’s
                                                                           25   omission of this information was material because a reasonable consumer would
                                                                           26   consider the information important in deciding whether to purchase the Product.
                                                                           27         107. Section 1782(d) Notice Requirement. Pursuant to California Civil Code,
                                                                           28   section 1782, on January 26, 2023, Plaintiff, on Plaintiff’s behalf and on behalf of
                                                                                                                           39
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 42 of 48 Page ID #:42




                                                                            1   members of the Class, notified Defendant of its alleged violations of the CLRA via
                                                                            2   U.S. Certified Mail.
                                                                            3         108. Causation/Damages (Section 1782(d)). As a direct and proximate result
                                                                            4   of Defendant’s misconduct in violation of the CLRA, Plaintiff and members of the
                                                                            5   California Subclass were harmed in the amount of the purchase price they paid for
                                                                            6   the Product. Further, Plaintiff and members of the Class have suffered and continue
                                                                            7   to suffer economic losses and other damages including, but not limited to, the amounts
                                                                            8   paid for the Product, and any interest that would have accrued on those monies, in an
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   amount to be proven at trial.
                                                                           10         109. Injunction. Given that Defendant’s conduct violated California Civil
                                                                           11   Code section 1780, Plaintiff and members of the California Subclass are entitled to
                                                                           12   seek, and do hereby seek, injunctive relief to put an end to Defendant’s violations of
                                                                           13   the CLRA. Plaintiff has no adequate remedy at law. Without equitable relief,
                                                                           14   Defendant’s unfair and deceptive practices will continue to harm Plaintiff and the
                                                                           15   California Subclass.
                                                                           16                                      COUNT FOUR
                                                                           17                               Breach of Implied Warranty
                                                                           18              (On Behalf of the Nationwide Class and California Subclass)
                                                                           19         110. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                           20   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                           21         111. Nationwide Class & California Subclass. Plaintiff brings this claim
                                                                           22   individually and on behalf of the Nationwide Class and California Subclass who
                                                                           23   purchased the Product within the applicable statute of limitations.
                                                                           24         112. Implied Warranty of Merchantability. By advertising and selling the
                                                                           25   Product at issue, Defendant, a merchant of goods, made promises and affirmations of
                                                                           26   fact that the Product is merchantable and conform to the promises or affirmations of
                                                                           27   fact made on the Product’s packaging and labeling, and through its marketing and
                                                                           28   advertising, as described herein. This labeling and advertising, combined with the
                                                                                                                           40
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 43 of 48 Page ID #:43




                                                                            1   implied warranty of merchantability, constitute warranties that became part of the
                                                                            2   basis of the bargain between Plaintiff and members of the Class and Defendant---to
                                                                            3   wit, that the Product, among other things, is safe for consumption.
                                                                            4         113. Breach of Warranty. Contrary to Defendant’s warranties, the Product
                                                                            5   does not conform to the Product’s representation of being safe for human
                                                                            6   consumption due to the inclusion of harmful heavy metals and, therefore, Defendant
                                                                            7   breached its warranties about the Product and its qualities.
                                                                            8         114. Causation/Remedies. As a direct and proximate result of Defendant’s
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   breach of warranty, Plaintiff and members of the Class were harmed in the amount of
                                                                           10   the purchase price they paid for the Product. Further, Plaintiff and members of the
                                                                           11   Class have suffered and continue to suffer economic losses and other damages
                                                                           12   including, but not limited to, the amounts paid for the Product, and any interest that
                                                                           13   would have accrued on those monies, in an amount to be proven at trial. Accordingly,
                                                                           14   Plaintiff seeks a monetary award for breach of warranty in the form of damages,
                                                                           15   restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiff and the
                                                                           16   Class for said monies, as well as injunctive relief to enjoin Defendant’s misconduct
                                                                           17   to prevent ongoing and future harm that will result.
                                                                           18         115. Punitive Damages. Plaintiff seeks punitive damages pursuant to this
                                                                           19   cause of action for breach of warranty on behalf of Plaintiff and the Class.
                                                                           20   Defendant’s unfair, fraudulent, and unlawful conduct described herein constitutes
                                                                           21   malicious, oppressive, and/or fraudulent conduct warranting an award of punitive
                                                                           22   damages as permitted by law. Defendant’s misconduct is malicious as Defendant
                                                                           23   acted with the intent to cause Plaintiff and consumers to pay for Product that they
                                                                           24   were not, in fact, receiving. Defendant willfully and knowingly disregarded the rights
                                                                           25   of Plaintiff and consumers as Defendant was aware of the probable dangerous
                                                                           26   consequences of its conduct and deliberately failed to avoid misleading consumers,
                                                                           27   including Plaintiff. Defendant’s misconduct is oppressive as, at all relevant times,
                                                                           28   said conduct was so base, and/or contemptible that reasonable people would look
                                                                                                                          41
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 44 of 48 Page ID #:44




                                                                            1   down upon it and/or otherwise would despise such misconduct. Said misconduct
                                                                            2   subjected Plaintiff and consumers to cruel and unjust hardship in knowing disregard
                                                                            3   of their rights. Defendant’s misconduct is fraudulent as Defendant, at all relevant
                                                                            4   times, intentionally misrepresented and/or concealed material facts with the intent to
                                                                            5   deceive Plaintiff and consumers. The wrongful conduct constituting malice,
                                                                            6   oppression, and/or fraud was committed, authorized, adopted, approved, and/or
                                                                            7   ratified by officers, directors, and/or managing agents of Defendant.
                                                                            8                                        COUNT FIVE
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9                               Unjust Enrichment/Restitution
                                                                           10              (On Behalf of the Nationwide Class and California Subclass)
                                                                           11         116. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                           12   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                           13         117. Nationwide Class & California Subclass. Plaintiff brings this claim
                                                                           14   individually and on behalf of the Nationwide Class and California Subclass (together,
                                                                           15   the Class) who purchased the Product within the applicable statute of limitations.
                                                                           16         118. Plaintiff/Class Conferred a Benefit. By purchasing the Product,
                                                                           17   Plaintiff and members of the Class conferred a benefit on Defendant in the form of
                                                                           18   the purchase price of the Product.
                                                                           19         119. Defendant’s Knowledge of Conferred Benefit. Defendant had
                                                                           20   knowledge of such benefit and Defendant appreciated the benefit because, were
                                                                           21   consumers not to purchase the Product, Defendant would not generate revenue from
                                                                           22   the sales of the Product.
                                                                           23         120. Defendant’s Unjust Receipt Through Deception. Defendant’s knowing
                                                                           24   acceptance and retention of the benefit is inequitable and unjust because the benefit
                                                                           25   was obtained by Defendant’s fraudulent, misleading, and deceptive omissions.
                                                                           26         121. Causation/Restitution. As a direct and proximate result of Defendant’s
                                                                           27   unjust enrichment, Plaintiff and members of the Class were harmed in the amount of
                                                                           28   the purchase price they paid for the Product. Further, Plaintiff and members of the
                                                                                                                           42
                                                                                                            CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 45 of 48 Page ID #:45




                                                                            1   Class have suffered and continue to suffer economic losses and other damages
                                                                            2   including, but not limited to, the amounts paid for the Product, and any interest that
                                                                            3   would have accrued on those monies, in an amount to be proven at trial. Accordingly,
                                                                            4   Plaintiff seeks a monetary award for unjust enrichment in damages, restitution, and/or
                                                                            5   disgorgement of ill-gotten gains to compensate Plaintiff and the Class for said monies,
                                                                            6   as well as injunctive relief to enjoin Defendant’s misconduct to prevent ongoing and
                                                                            7   future harm that will result.
                                                                            8                                         COUNT SIX
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9                                   Negligent Failure to Warn
                                                                           10              (On Behalf of the Nationwide Class and California Subclass)
                                                                           11         122. Incorporation by Reference. Plaintiff re-alleges and incorporates by
                                                                           12   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                           13         123. Nationwide Class & California Subclass. Plaintiff brings this claim
                                                                           14   individually and on behalf of the Nationwide Class and California Subclass (together,
                                                                           15   the Class) who purchased the Product within the applicable statute of limitations.
                                                                           16         124. Defendant’s Manufactured Product. At all relevant times, Defendant
                                                                           17   was responsible for designing, constructing, testing, manufacturing, inspecting,
                                                                           18   distributing, labeling, marketing, advertising, and/or selling the Product. At all
                                                                           19   relevant times, it was reasonably foreseeable by Defendant that the consumption of
                                                                           20   the Product, which contained heavy metals, lead and cadmium, involved serious
                                                                           21   health risks and was unreasonably dangerous to Plaintiff and the Class as the ultimate
                                                                           22   users of the Product.
                                                                           23         125. Knowledge. Defendant knew, or through the exercise of reasonable care,
                                                                           24   should have known of the presence of heavy metals in the Product and the inherent
                                                                           25   dangers associated with consuming the Product as described herein, and knew that
                                                                           26   Plaintiff and Class Members could not reasonably be aware of those health risks.
                                                                           27   Defendant failed to exercise reasonable care in providing Plaintiff and the Class with
                                                                           28   adequate warnings.
                                                                                                                           43
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 46 of 48 Page ID #:46




                                                                            1         126. Defendant Duty To Warn. Defendant, as the designer, manufacturer,
                                                                            2   tester, marketer, advertiser, and/or seller of the Product, had a duty to warn Plaintiff
                                                                            3   and the Class of heavy metals contained in the Product and health risks associated
                                                                            4   with the consumption of the Product. At minimum, the duty arose for Defendant to
                                                                            5   warn consumers that the Product contained heavy metals and consumption of the
                                                                            6   Product could result in health risks and was unreasonably dangerous to consume.
                                                                            7         127. Negligent and Breach of Duty. Defendant was negligent and breached
                                                                            8   its duty of care by negligently failing to provide warnings to consumers of the
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9   Product, including Plaintiff and the Class, about the true nature of the Product, its
                                                                           10   health risks, and potential dangers. Defendant was negligent and breached its duty of
                                                                           11   care by concealing the risks of and failing to warn consumers that the Product contains
                                                                           12   harmful heavy metals.
                                                                           13         128. Causation. Defendant’s failure to provide adequate warning about the
                                                                           14   potential risks associated with the Product was a direct cause of the Plaintiff’s injuries.
                                                                           15         129. Damages. As a direct and proximate result of Defendant’s conduct,
                                                                           16   Plaintiff and members of the Class were harmed in the amount of the purchase price
                                                                           17   they paid for the Product. Further, Plaintiff and members of the Class have suffered
                                                                           18   and continue to suffer economic losses and other damages including, but not limited
                                                                           19   to, the amounts paid for the Product, and any interest that would have accrued on
                                                                           20   those monies, in an amount to be proven at trial. Accordingly, Plaintiff seeks
                                                                           21   damages, restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiff
                                                                           22   and the Class for said monies, as well as injunctive relief to enjoin Defendant’s
                                                                           23   misconduct to prevent ongoing and future harm that will result.
                                                                           24                                    PRAYER FOR RELIEF
                                                                           25         130. WHEREFORE, Plaintiff, individually and on behalf of all others
                                                                           26   similarly situated, prays for judgment against Defendant as follows:
                                                                           27            a. Certification: For an order certifying this action as a class
                                                                           28               action, appointing Plaintiff as the Class Representative, and
                                                                                                                            44
                                                                                                           CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 47 of 48 Page ID #:47




                                                                            1             appointing Plaintiff’s Counsel as Class Counsel;
                                                                            2          b. Declaratory Relief: For an order declaring that Defendant’s
                                                                            3             conduct violates the statutes and laws referenced herein;
                                                                            4          c. Injunction: For an order requiring Defendant to immediately
                                                                            5             cease and desist from selling the unlawful Product in violation of
                                                                            6             law; enjoining Defendant from continuing to market, advertise,
                                                                            7             distribute, and sell the Product in the unlawful manner described
                                                                            8             herein; requiring Defendant to engage in an affirmative
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9             advertising campaign to dispel the public misperception of the
                                                                           10             Product resulting from Defendant’s unlawful conduct; and
                                                                           11             requiring all further and just corrective action, consistent with
                                                                           12             permissible law and pursuant to only those causes of action so
                                                                           13             permitted;
                                                                           14          d. Damages/Restitution/Disgorgement: For an order awarding
                                                                           15             monetary compensation in the form of damages, restitution,
                                                                           16             and/or disgorgement to Plaintiff and the Class, consistent with
                                                                           17             permissible law and pursuant to only those causes of action so
                                                                           18             permitted;
                                                                           19          e. Punitive Damages/Penalties: For an order awarding punitive
                                                                           20             damages, statutory penalties, and/or monetary fines, consistent
                                                                           21             with permissible law and pursuant to only those causes of action
                                                                           22             so permitted;
                                                                           23          f. Attorneys’ Fees & Costs: For an order awarding attorneys’ fees
                                                                           24             and costs, consistent with permissible law and pursuant to only
                                                                           25             those causes of action so permitted;
                                                                           26          g. Pre/Post-Judgment Interest: For an order awarding pre-
                                                                           27             judgment and post-judgment interest, consistent with permissible
                                                                           28             law and pursuant to only those causes of action so permitted; and
                                                                                                                        45
                                                                                                          CLASS ACTION COMPLAINT
                                                                           Case 2:23-cv-02832-MWF-KS Document 1 Filed 04/14/23 Page 48 of 48 Page ID #:48




                                                                            1              h. All Just & Proper Relief: For such other and further relief as
                                                                            2                 the Court deems just and proper.
                                                                            3                              DEMAND FOR JURY TRIAL
                                                                            4         Plaintiff hereby demands a trial by jury on all issues and causes of action so
                                                                            5   triable.
                                                                            6
                                                                                Dated: April 14, 2023                          Respectfully submitted,
                                                                            7

                                                                            8                                                  CLARKSON LAW FIRM, P.C.
                                                                                                                               By:
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                            9

                                                                           10                                                  /s/ Bahar Sodaify
                                                                                                                               Ryan J. Clarkson, Esq.
                                                                           11                                                  Bahar Sodaify, Esq.
                                                                           12                                                  Alan Gudino, Esq.
                                                                                                                               Ryan D. Ardi, Esq.
                                                                           13

                                                                           14                                                  Attorneys for Plaintiff
                                                                           15

                                                                           16
                                                                           17

                                                                           18

                                                                           19

                                                                           20

                                                                           21

                                                                           22

                                                                           23

                                                                           24

                                                                           25

                                                                           26

                                                                           27

                                                                           28
                                                                                                                          46
                                                                                                           CLASS ACTION COMPLAINT
